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                         Exhibit 1 (Part 1 of 2)

                 Declaration of Theodore Whitford
               (Vice Chairman, Chippewa Cree Tribe)
                  With Attachments (Exhibits A-C)
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         Ex. 1 - Declaration of Tribe Vice-Chairman Theodore Whitford, PG MTD
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                      EXHIBIT A
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                             Ex. A
                                                                     000001
                             PG - Motion to Dismiss
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                                                                      000007
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                       EXHIBIT B
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                                                               . UNITED STATES
                                                          DEPARTMENT OF THE INTERIOR

                                                              OFFICE OF INDIAN AFFAIRS

                                                                         +


                                                     CONSTITUTION AND BYLAWS OF THE
                                                       CHIPPEWA CREE INDIANS OF THE
                                                         ROCKY BOY'S RESERVATION
                                                                   MONTANA
                                                                         +



                                                             APPROVED NOVEMBER 23, 1935




                          Ex. B
                          PG- Motion to Dismiss
                                                                                          000001
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                                         CONSTITUTION AND BYLAWS OF THE CHIPPEWA CREE INDIANS OF THE
                                                      ROCKY BOY'S RESERVATION, MONTANA




                                                                        PREAMBLE

                                          We, the original. and adopted members of the Rocky Boy' s
                                       Band of Chlppewas enrolled upon the Rocky Boy's Reservation i n
                                       the State of Montana, in order to exercise our rights to se·l £-
                                       government, to administer al.l triba.l affairs to the bes t
                                       advantage of the i.ndiv;idual members, and to preserve and
                                       increase our tribal resources, do ordain and establish this
                                       Constitution of the Chippewa Cree Tribe of the Rocky Boy' s
                                       Res·erva tio~ 1 Montana.

                                                           ARTICLE I - - - TERRITORY

                                            The jurisdiction of the Chippewa. Cree Tribe of the Rocky
                                        Boy's Reservation, Montana , shall extend to the territory
                                        within the ltoc>cy Boy's Reservation as established by Act of
                                        September 7 , 1916 (39 Stat . 739), amending the Act of February
                                        11 , 1915 (38 State . 807), in the State of Montana, and to such
                                        lands as have been or may hereafter be acqui;red and added to
                                        the Reservation by law.

                                                          ARTICLE II - - - MEMBERSHIP

                                            SECTION 1.      The membership of the Chippewa Cree Tribe shall
                                         consist as follows:
                                            {a) All members of the Rocky Boy' s Band of Chippewas
                                                 en~olled as of June i, 1934.
                                            (b) All .chll.dren born . to any member of the Chippewa Cree
                                                 Tri.be of the 11.ocky Boy's Reservation who is a resident
                                                 of the reservation at the time of the birth of said
                                                 chilctr'en . ·
                                             (c) All children of one-half. or more Indian blood born to a
                                                 non-resident member of the Tribe.
                                 '!'         SECTION 2.         Any J:ndian, one-half blood or more and a
                                       . resident of Montana, not a member of any other reservation,
                                         may become a member of this organization provided that two -
                                         thirds or more of the eligibl.e voters cast thei r bal;Lots at
                                 '!'     such election, and provided further that two-thirds of those
                                       . voting at such election vote in favor of such adopt:ion .      'All
                                         al.actions to membership shall be confirmed by the Secretary of
                                         the Xnterior.




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        ARTICLE III -     - - ORGANIZATION OF GOVERNING BODY                       shall not apply 'until one       (l) year from the date the increase
                                                                                   was approved.
     SECTION l .    The governing body of the Chippewa Cree Tribe
sha ll be known as the "Business Collll11ittee."                                                ARTICLE IV - .· - - ELECTIONS AND NOMINATIONS
     SECTION 2 .    The Business eommi ttee shall consist of eight
 (8) members and a Chairman all of whom shall be elected on an                    ~SECTION 1.           .Tribal members who are at least eighteen (18)
at-large basi,.s . · The Chairman shall file for. that · particular                years of. age on election day shall be eligible to vote in
office .                                                                           tribal. el.ections ..
     SECTION 3 .      During the first regular meet:ing following                      SECTION . 2.      To be eligibl.e for membership on the Business
certification of         those committee member-s elected ·· at the·               Committee, candidates . must have the following qualifications :
biennial el.ection , the Business Committee shall el.ect from                                    (a) Be a member of the "rribe.
within its own melllbership a Vice-Chairman ' and such officers                                  (b) Must have physically resided within the general
and committees as i t may deem necessary .            The services of a                               .area which encompasses the main body of the
"rri bal.   Secretary-Treasurer      shall   be   available         t;Q    the                         reservation      or     on   any       land  under     the
committee.      Such tribal. e~ployees shall be hired on the basis                                     jurisdiction of the tribe for two (2) years
of ari empl.oyment contract.                                   ·                                       immediatel.y prior to the date of the general
     SECTION 4 .      The term of .offiqe of the Chair111,an and all                                   election.
oth~ committee members shal.l: be four (4) years, or until.                                      (c) Must be at least · twanty-five (25) years of age
their suc~essors are duly elected and installed.                                                       on the date of the election.
      Those' members of the Business Committee who are in office                                 (d) .Should      a    potential. · candidate       have    been
on the effective date of this amendment shall continue to                                              convicted of a feloIJ,y in ·any state or Federal
 serve until their successors are duly elected at the November                                         court or      convicted by tribal           court   of   a
1972 general election and i .n stall.ed in office.                  At that                            misdemeanor invol.ving dishonesty or bribery in
 election a Chairman ·and eight' (8) coll'.mittee members shall be                                     handl.ing tribal affairs, such persons shall n ot
 elected.     The Chairman and four (4) COlillll~ttee membexs shall be                                 be entit:l.ed to be a candidate until five (5)
 elected for terms of four (4) years (November 1972 through                                            years after completion of his penal. ty .
 November 1976 unless earlier removed f~om office),                         The                   (e)· rf a candidate was ever convicted of use,
                                                                                                       possession or sale of illegal drugs i n any
 remaining four ( 4) committee members shall. l:ie el.ected to se,rve
                                                                                                        State, Federal or tribal • court , such persons
 for two (2) year terms .        (Nqvember 1972 through November 1974
                                                                                                        shail. not be entitled to be a candidate until
 unless earlier removed from office) ,        The differ~ng lengths of
                                                                                                        five (5) years a£ter completion of the penal.ty .
 teons shal.1 appl.y only to the 1972 election ~or the pu;cpose of
                                                                                        SECTION 3 .       1\.ny member who wishes to file as a candidate
 establi shing     a    system    of   staggered    ta=        of      office.
                                                                                    for membership on the ~usiness Committee, shall deposit w.ith
 Thereafter , all. terms · shal l be for four ( 4') years.            'l?rimary
                                                                                    the Election Board a filing fE\e of              · $15 . 00 ($25. 00 for the
 elections shall b e in October on even numbered · years and
                                                                                    office of Chairman), to help defray election expenses.                   Such
  general elections shall be in November of even numbered years.
                                                                                    fee shall. not be ·refunded unless the potential candidate fails
  Th_o se eight (8) candidates rece-iving the higher - number of
                                                                                    to ~t;. the qualification.s .          Procedures shall. be set forth in
  votes in the primary election . wil.l compete in the g~eral
                                                                                    the election ordinance rega.r ding the Election Board' s handling
  election for the terms of office.                               ·
       Candidates who wish to compete for the' office of Chairman                   of. funds rec~iv_e d from filing fees.              The fil.ing fee may be
  shall speci£ical.ly file for that position for a four (4) year                    adjusted by appropriate amendment to the election ordinance.
  term ,   Those two (2 ) candidates receiving the higher number of                      The Election Board shall be responsibl.e for insuring that
  votes in the primary election for Chairman wil.l ep1'1!)ete for                   onl.y persons wh~ meet the qualifications are accepted as
  Chai rman in the gene ral election for the ter111, of office .                    candi~s for el~ctive office.
       SECTrON 5 .    The Business Commj,ttee s.):,,a.l.l. be empowered to              .S~CTJ:ON 4. · In fillin.g the four (4) . vacancies which wil.1
  establ i sh by     resol.ution   the rates of payment to ' cover                  occur each two (2) · year;., not more than eight (8) candidates
  necessa.ry expenses of tribal officials and/or tribal _employees                  rece:i:ving the highest number of votes in the October primary
  i n connection with their attending .e ither local or distant                     election snal.l. ·compete for those four (4) positions in the
  meetings considered to be official tribal business.                       The     November genera),. el.ect:ion.       The · four (4) candidates ;r:eceiving
  Business Cammi ttee may change the · rates of paY1'1Qllt for such                 the high~st number , of votes in the 'gene.ral election shall be
  expenses .     However , any increase or ~ecrease in such rates                   el.acted.     :rn, fj,lling the ona (l.) vacancy for Chai rman wh1c:h
                                                                                    will be every four (4·) years, not 1110;r:e than two (2) candidates




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receiving the highest number of votes in the October primary                     impartial. interpreter at the·polling place during voting hours
election '. shall compete for that one (1) Chairman position in                  to assist those voters requesting help in casting their
the November general election.                                                   bal.lots.
     The candidate receiving the highest number of votes in the                     Wherever possible,    the Election Board shall. · coordinate
general election shall be elected Chairman.                                      tribal elections with State and County elections.
    ·sECTION 5.     · Successful- candidates shall be install.ed in
office by the Chairman of the El.ection Board within fourteen                             ARTICLE V - - - VACANCIES, REMOVAL AND RECALL
 (14) days following certification of resul.ts of ·the ger;<era_l
election .                                                                            SECTION 1.     If any eJ.ective official. sha.l.l die, resign,
     SECTION 6 .      There shal.l be an impartial Election Board                permanently leave the reservation, or shall. be found guj.l ty
consisting of five (5) members responsible for call.ing and                      whi.l.e    in  office of a        felony   or  misdemeanor    invol.ving
conducting all. tribal elections.          Three (3) of ·. the five (5)          dishonesty in any Indian, State or Federal. court, th.e Business
board members shall be those tribal members who are serving as                   Cammi ttee shal.l de cl.are the position vacant and · direct the
 the Election Board for the County electi·o n precinct No. 28                    Election Board· to call a special election to fi.l.1 such
which includes the reservation.                                                  vacancy.      The candidate receiving the highest number of votes
     The tribal members who constitute the precin_c t Election                   shall. be el.ected.
Board shall appo·int two (2) other adult tribal members to                            If six (6) months or less remain before the next primary
 serve with them for tribal election purposes.            Those two (2)          election the · vacated posi.t.ion shall remain vacant unt1l i t is
 Board members shal.l meet the . qualifications se·t forth in                    filled at the general e.lection followi.n.g that pri.m~ , except
Art:i,.cl.e IV,  Section 2 of this co_nstitution and shall be                    as provided in Section l (f) of the bylaws.
 subject to the provisions of Article V, S_ection 3.                                  SECTION 2. . The Business Colllllp.ttee may by an affirmative
      In addition, the Tribal Secretary-Treasurer shall sel!'Ve as               vote of at lea~t fi.ve (5) members exp~l. any member for negl.ect
 clerk of the Election Board in. a nonvoting capacity.                           of duty or gross misconduct provided that the accused member
      A board .member shall. not serve on ·the Business committee                shall be given full and fair o~portunity to repl.y to "any " ane
 and the Election Board at the same time.         Shoul.d .either of the         all ch.a .rges at a des:i.gnjilted commi.ttee meeting . rt is further
 two (2) non-precinct board members file as a candidate for any                  stipulated that any such member shall be given a written
 tribal elective office, they shall . automatical.l.y lose their                  statement o'f the charges against hi1!i at l.east £.ive (5) days
 position on the El.ection Board.        Should any of the other three           before the meet.in.g at which he is to appear.
  (3) voting members of the Board file for· tribal office, they                        SECTION 3.     Upon :r:eceipt of a valid petition signed by
  shall request the County elect:ion officials to replace them                    registered voters equal. in numbex to forty (40) percent o f
  with other tribal members.                                                      those who voted at the la.st election, i t shal.l be the duty of
      The tribal Election Board shall be created within teti (10)                 the Election 'Board to . call: anc;l conduct, within sixty ( 60)
  days after the effective dat<! · of this amendment.            Initial          days,     a recall el.action on any individual. who fills an
  appointments of the two (2) non-precinct members shall be:                       elective. position.    The provi.s ions of this sect.ion i.ha.ll. also
  one · (1) member · for a two (2) year term and the other for a                   apply to those el.ection board members indicated in, Article IV,
  three ( 3) year term.       T.h ereafter, as the terms expire, both              Section 6.      A majority of those who participate in such
  appointments shall be for · terms of three . (3) years.        Members           el.ection must faver recall in order for ;it to become effective
  may· be appointed to successive terms.         Appointments shall be             provided those who vote constitute at least fifty (50) percent
  made as provided in paragraph two of this Section.                              of    the registered vote.rs. · only one {1) recal.l attempt may be
                                                                                   made for any t:riba.l official during a given term of office.
    SECTION 7.      The specific dates of elections and the                        No recal.l petition shall. be acted upon until. at least six (6)
 procedures £·or their conduct shal.l. be set forth in an election                 months of the term has expired.        No more than one (l.) official
 ordinance which shal.l. be drafted by the El.ection Board and
 approved by a majority vote of those participating in a tribal
                                                                           ...    ·at ~ time may be cousic;fered for recall.         A recall election
                                                                                   sha.ll not be he.ld if an election for that office is scheduled
 referendum. called for that purpose by the Election Board                         w-i-thin ninety (90) days· after filing the recall p~tition .
 pursuant to Article VIII,                                                             Should the recall be su.c cessful, the vaci!mcy shall. be
 Section 2.                                                                        fil.l.ed as provided .in section l of this Article.            Further
     such   ordinance   shall   include   provisions  for   secret                 details needed to carry out the intent of this Article shal.l.
 bal.loting, · absentee   voting,   registration   of  voters,   a                 be set forth in the tribal election ordinance .
 procedure for resolving election 'disputes and compensation for·
 election ·officials.   Provisions shall also be included f!or an



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             ARTICLE VI -    - - POWERS OF THE COMMITTEE
                                                                                   (j)   To levy taxes upon members of the tribe and to levy
    SECTION l.         The "Business Committee shall exiµ:cise the                       taxes or license fees,         subject to review by the
following powers subject to any limitation.s imposed by the                              Secreta.ry     of · the Interior,  upon   nonmembers  doing
Statutes or the Constitution of the United States and subject                            business within the reservation .
                                                                                   (k)   To enact . resolutions or ordinances not inconsistent
further to a11 express restrictions upon such powers contained
in this constitution and bylaws.                                                          with Art~cle II of this constitution governing tribal
                                                                                          enrollment and abandorunent of JnGmbership.
     (a) To     negotiate     with   the    Federal,   S1'ate    and   local
                                                                                   (l)    To · encourage ru1d foster the arts, crafts, culture, and
          governments on beha1£ of the tribe and to advise- and
                                                                                         -traditions of the tribe.
          consult with representatives of the Inter~or Department
                                                                                   (m)    To acquire and use for public purposes any part of a
          on all activities o; the Department that may affect the
                                                                                          sel.ecti:on or land assignment provided that adequate
          Rocky Boy ' s Reservation .
                                                                                          compensation is paid by the Business Committee to the
     (bl To      employ   legal    counsel     for  the pr_o tection     and              holder of such property .
          advancement of the tribe and its members, the choice of
                                                                                   (n)    'I'o enact ordinances governing hunting and fishing
          counsel and the fixing of fees -to be subject to the                            within the confines of the reservation.
          approval o.f the Secretary of the Interior.                      ·       (o)    To delegate to subordinate boards or to cooperative
     (cl To approve or veto an.y sale, disposition, lease or                              associations which are open to all members of the tribe
          encumbrance of tribal lands, .interests in lands or                             any of the foregoing powe.r s, reserving the right to
           other tr i bal. assets, i.ncluding oil, gas, and mi.nerils                      review any action taken by virtue of such delegated
           which may be authorized or executed by the Secxeta:ry of                       power.
           the Interior, or the Commissioner of Indian Affairs, or                 (pl     To enact ordinances including a co.m prehensive law and
           any other official. or Agen,=y of Government provided                           order code sUbject to approval by the Secreta.·r y of the
           that no tribal lands shall e•rer be sold, encUlDbere.d, or                      Interior governing the conduct of tribai members and
           leased for      a   peri od exceeding that permitted by                         providing for maintenance of law and. order .    The code
           ex.isting    law,    except    to    the  extent    required to                 shal.l include such items listed here but not limited
           i mplement the provisions of the loan program designed                          to;     jurisdiction, court procedures, civil actions,
           to help p urchase land in trust as set forth in the Act                         domestic relations , sentences ; . criminal offenses, and
           of April      11 ,  1970    (64 Stat . 120) provided such                       organization and procedures of tribal. polic~.
           participation is permitted by the tribe's charter of
           incorporation.                                                            ARTICLE VII - - - POPULAR PARTICIPATION IN GOVERNMENT
      (d) To advise the heads of the various Federal departments
            and other gove:i::-nmental agencies with regard to all                  SECTION 1.  All regular meetings of the Business Committee
            appropriation estimates prior to the submission of such             shall be open to the public, · but visitors may not interfere
            estimates to the office of ManageJl!ent and Budget and to           with proceedings , and may only speak with the consent of . the
            Congress.                                                           Chairman.
      (el To approve applications for selection~ of land in                        .SECTION 2 . A1l resolutions ·and ordinances of the Business
            conformity with Article IX of this constitution.                    Committee shal.l be placed in writing and posted in public
       (f) To manage all economic affai.rs an$1 ente;rprises o f          the   places, and copies shall also be placed with each committee
            tribe in accordance with th.e terms of the 1::Fibe' s               member.
            Federal Charter of incorporation.
       (g) To     charter    subordinate     organizations for       economic
                                                                                                   ARTICLE VIII - - -   REFERENDUM
            purposes and regul.ate the activities of all cooperative
            associations of members of the tribe.
                                                                                     SECTION 1.   Upon receipt of a valid petition signed by at
       (h) To     appropriate    available     tribal   funds    for   tribal
                                                                                lea.st one-half (1/2) of the nlJD\ber who v_oted at the last
            governmental      operations     except   that    any    proposed
                                                                                election or upon · the request of a majority of the members of
            expenditure exceeding the ttibe' s anticipated annual
                                                                                the Business Committee 'a s set forth in a resolution , i t shall
            .income shall be subject t<i> approval. by a referendum
                                                                                be the duty of the Election Board within sixty (60) days to
            vote.
                                                                                submit to popular referendum any enacted or proposed ordinance
       (i) Future tribal income may be_ ·pledged by the Business                or resolution . of the Business Committee .           The vote of a
            Committee only in th~ manner authorized by Section S(e)             ma.j"o rity of tbosa t<ho cast bal.J.ots in S'2ch referendum ch<L1l. be
            and_ S(f) of the tribe's corporate charter.
                                                                                conclusive and binding on the committee, provided at least



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three-fourths (3/ 4 l of the registered voters participate in
that referendum.                                                                 Ind'ians who a re members o f the Chippewa Cree Tribe .                No lease
                                                                                 of tr i ba l lands t o a non-member shall. be made by, the Business
   Any enactment which has been effective for at least six (6)
                                                                                 Committe e unl.ess i t s hall appear that no Indian cooperative
months shall no longer be subject to referendum.
                                                                                 a ss o c iation o r ' i n div i dual member of the tribe is able and
   SECTION 2 .   For purpose of adopting o r amending an el. ectio n
                                                                                 willing t o use the land and to pay a reas onable fee for such
ordinance , t.he Election Bo ard is empowere d to c al l and conduct
                                                                                 u se , p r ovi ded no i n div idual member of the tribe or co operative
a referend um electi o n.   I n such ele ction, a maj o r i ty of those
                                                                                 association s hall be g ive n any p r efere nce a s to the use of
who v o te shal l dete rmine wh ethe r the p roposa l is a dopted or             tribal l and unless the stock of s uch i n dividual lrlembe.r of
reje c ted pro vided   at   least   thirty   (30 ) pe:i:c e nt of the
                                                                                 associ ati o n i s .restricte d sto c k and b e ars the IO hr.and .
registe.red voters participa te i n the b allo ting.
                                                                                      SECTI ON 9 .         Iltlprovements     of any charac ter made upon
                                                                                 sele~ tions may be willed t o and inherited b y member s of the
                   ARTICLE IX - - - TRIBAL LANDS                                 Chi ppewa Cree Tribe .            When · i mpro vements a.r e not po s sible o f
                                                                                 fair clivi s ior;i, the Business Commi.tte e shall. dispos e of them
      SECTION 1.     No lands now within the ,oes·ervation boundary,             under      such regulations as i t may p rovide.                 No ·paananent
held in trust for the tribe , may be alienated nor             may title          improvements may b e r emoved fr o m any land without the consent
pass to any individual.                      .                                    of the Business Committee .
      SECTION 2.     Any head of a : family who is a member shall be
e ntitled to the use of not mo:C-e than 160 ·acres . of land, such                                      ARTICLE X - - - JIMENDMENTS
land to be known as "a selection" .
      SECTION 3.     Applications for selections shall be presented                  SECTION 1 .    This c onstitutio n and Bylaws may be amended by
in writing to the Business Committee.                                            a maj o rity vote 0£ the qualified voter s of the tribe voting at
  · SECTION 4 .        The applicant shall be investigated by the                an elec tio n c a l le d 1io r that p urp ose by the Secre'tary of the
Business      Committee      before  action    may ·be   taken  on his           In terior, provided that a t l e ast thirty (30 ) perc ent of those
applicatio n .                                                                   enti tled to vote s hall v ote in such ele ction, b u t no am.e ndment
      SECTION 5.        The applicant upon approval of application               shall become effect:i.ve until i t shall have been approved by
shall reside upon selection and do a reasonable amount of                        the Secretary of the Interior .           It shall be the duty of the
 improvement       for    two  years   before    selection   is  finally.        Secretary of the Interior to call an election on any proposed
 approved .                                                                      amendment upon pre.s entation of a petition signed by two-thirds
       SECTION 6 .    All selections approved by the Superintendent              of the eligible voters of the tribe.
 of the reservation at the time of the approval of this
 Constitution shall remain in effect .                                                              ARTICLE XI - - - RIGHTS OF MEMBERS
       SECTION 7 .     If any man has allowed his selection to run
 down     and has made no effort to ke~p up improvements and make                     In compliance with the Civil , Ri.g hts Act of 1968 (82 Stat.
 a r.:asonable u;e of his land, the Business Committee shall                      77), the Chippewa Cree Tribe in exercising its powers of self-
 have the right to cancel his selection after due hearing, and                    gove:cnment shall not ;
  to reassign his land to an eligible member of tha tribe                           (a) Make or enforce any law prohibiting the free exercise of
 provided that such member s hall p a y to the f ormer occupant of                       religion; or abridging the freedom of speech, or of the
  the land the value of all his impro vements as determined by an                        press, · or the right ·of the people peaceably to assemble
  appraisal board appointed b y t he Business Committee .            This                and to petition for a redress of grievances;
  valuation of the board shall be subject to review and                             (b) Violate the right of the· p _e ople to be secure in their
  modification by the Business Committee upon appe_a l by the man
  who lose s hi s selection .     The Business Committee may allow the
                                                                             1           perso~s, houses, papers and effects against unreasonable
                                                                                         search .·and seizures,    nor issue warrants,    but upon
  man to remain in his ho.u se without the use of the land and                           probable cause, supported by oath or affirmation, and
  reassign the land to any· other eligible member .                          J           particularly describing the place to be searched and the
       SECTION 8.     Tribal lands not assigned as selections may be                     person or thing to be seized ;
  used in common for grazing purposes by all members in                             (cl Subject any person _f or the same offense to be twice put
  a c cordance with ordinances or resolutions enacted by the                             in jeopardy;
  Business Committee, or may be leased by the Business Committee                    (d) Compel any person in any criminal case to be a . witness
  with the . approval of the Secretary o·f             the Inte.rior in                  against himself;
  accordance with law.          Preference shall be given, first, . to               (e) Take any . private property for a public use without just
 Indian ·co~perativ e   associations ,   and,   sec0nd1y,   to individual.               Compensation;




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                                                                                                              BYLAWS
 (f) Deny to any pers o n in criminal proceeding the right to a
      speedy and public trial, to be informed Cif the nature
                                                                               SECTION l .       Organization of Business Committee and Duties
      and cause of the accusation, to be confronted with the.
                                                                            of Officers.
      witnesses against him, to have compulsory process for
                                                                                (a) The off·icers of the committee shall. be the Chairman,
      obtaining witnesses in his favor, and at his own expense                        Vice Chairman, and su,:::h other officers as may be
      to have the assistance of counsel for his defense;                              hereafter. designated by the committee .
 ( g) Require excessive bail, impose excessive fines, inflict                   (b) The Chairman shall be elected at large.                   The Vice
      cruel and unusual punishments; and in no event impose                           Chairman and any other officers shall be elected from
      f or  conviction of any one offense any penalty or                              within the committee by secret ballot.              A nonvoting
      punishment greater than imprisonment for a term of up to                        secretary-Treasurer shall be selected from outside the
      one (1) year and/or a fine of five thousand dollars                             committee and retained on an empl.oyment contract .
       ($5000) or both ;                                                         (c) The Chairman of the Election Board shall administer the
 (h) Deny to any person within its jurisdiction the equal                             oath o£ office to the newl.y-elected members of the
      protection of its laws or deprive any person of liberty                         Business Committee following certification of their
      or property without due process of law ;                                        e1ection.
  Ci) Pass any bill of attainder o r ~ p o s t ~ law; or                         (d) In the absence of any officer at a meeting ,                    the
  (j) Deny to any person accused of an offense punishable by                          Business. Committee shall el.ect a temporary Chairman to
       imprisonment the right, upon request , to a trial by jury                      preside for that meeting .
       of not less than six (6) persons .                                        (e) The Chairman of the committee shall preside over al.l
                                                                                       meetings of the conuni ttee, shal.l perform all duties of
                 ARTICLE XII -     - - .JUDICIAL BRANCH                                a Chairman and exercise any authority delegated to him
                                                                                       by the committee .      He shall. vote only in the cas e of a
      SECTION 1.     There shall be established a Judicial Branch                      tie.
wi thin the tribal government to enforce ordinances and laws of                   (f) The Vice Chairman shall assist the Chairman when called
the      Business    Comxnittee,   the   Election   Btiard   and/or    to              upon to do so, and in the absence of the Chairman,
administer justice through a tribal court .                The Judicial                shall preside.       When so presiding, he shall have all
Branch shall also provide an appellant body " for tribal members                        the rights, pri~ileges, and duties as well as the
who are aggrieved by decisions of the tribal court :                                    responsibi1ities of the Chairman.         In case of vacan~y,
      SECTION 2 .    There shall be established, the positions of                       the Vice Chairman . shall succeed at once to the office
Chief Judge and two (2) Associate Judges for the tribal court                           of the Chairman until. the next special or regular
who shall be responsible to carry out the tribe' s j _udicial                           election for th.e office of Chairman in accordance with
functions in accordance with an approved tribal law and order
                                                                                                                                                                     t
                                                                                        Section 1, Article V of ·the tribal constitution.
code .      The tribal appellate court shall consist of a Chief
'l:12 ella t~ Cou;t Judge who shal l se1ec t appel1ate anel membe-rs
                                                                                   (g) The       Secretary-Treasurer,
                                                                                         subsection    (b)    above,
                                                                                                                            selec:ted
                                                                                                                        shal.l   conduct
                                                                                                                                         pursuant
                                                                                                                                           all
                                                                                                                                                       to
                                                                                                                                                  tribal.
                                                                                                                                                                     I
 from a poo l o:t e ig              dates se   y    e appellate court .
      'rha Busines s Committee s hall appoint and contract· w±U.1 Ute
 Chief J udge and Associat e J udg es for the tribal court and the
 Chief Ap pe l lat e c our t J udge for ·tr.e triba1 appellate court .
                                                 0
                                                                                         correspondence and shall keep an accurate record of all
                                                                                         matters transacted at the business meetings .
                                                                                        ·be his duty to submit promptly to the Superintendent
                                                                                         and the Commissioner of Indian Affairs copies of all
                                                                                                                                                It shall
                                                                                                                                                                     I
                                                                                                                                                                     !
 The .Chie f J udge and Associate J udges for the tri..bal court . and
  the Chi.a£ Appel l a'b~ Cour t Judge- and Appel.late Panel · Judges for
                                                                                         minutes of regular and special meetings of the Business
                                                                                         Committee.    It · shail be his duty to have the minutes                    !
                                                                                                                                                                     I
  the appall.ate     c ourt mus t   have extensive tribal judicial.                      permanently bound and ready for inspection at all
  e xpe rience and be :in good standing to pres i de over the tril:ial                   reasonable time·s .   It shall also be his duty to receive
  c ourt and t r ibal appe1 lat e court.                                                 all petitions, applications, and other business papers
                                                                                         and prepare same for presentation to the Business
                                                                                         Committee.     The Secretary-Treasurer shall serve as
                                                                                         clerk of the Tribal Election Board in a nonvoting
                                                                                                                                                                     l
                                                                                         capacity and shall perf·orm such services as may be set
                                                                                         forth in an e1ection ordinance.                                             I
                                                                                                                                                                     I
                                                                                             The   Secretary-Treasurer . shal.l       accept,   receive,             I
                                                                                      recei.pt   for,   .Preserve,   and   safeguard   a1.l.   funds   .:in   the.
                                                                                                                                                                     i'
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     custody of the Business Committee whether they be
                                                                            SECTION 4.       Procedure for adoption of Constitution and
     tribal fun~ or special funds for which the colllllli ttee
                                                                         Bylaws .
     i s acting as trustee or custodian. Checks and drafts
                                                                             (al This Constitution and Bylaws attached hereto shall be
     shall. be made out to the "Chippewa Cree Business
                                                                                  in full force and e£fect whenever a     majority of the
     Comml ttee" and shall be endorsed "for deposit only".
                                                                                  adult voters of Rocky Boy' s Band of Chippewas 'voting
     'l;'.he Secretary-Treasurer shall deposit all sucl:t funds as                at an el.action cal.led by the secretuy of the Interior
     d i rected by the Business Committee and shall. make and                     in which at least thirty percent (30%) of' the el.igibl.e
     preserve an accurate record o~· the money.                                   voters    shall    vote,   shall  have  ra·tified   such
            Foxther,     he shal.1. report on ...U receipts and                   Constitution and Bylaws and the Secretary of the
     expenditures and the amount and nature of a+l funds in                       Interior shall have approved same, as provided in the
      his custody.           A1l. reports shal.l. be in writing and               A.c t of June 1.8, 1934, as amended by the Act of June
      submitted to the Bus:lness Committee at its regul.a:r
                                                                                 15, 1935.
      meetings and at such other times i t may request.            The
      SeoretaJ::y-Treasurer shall. not pay out or otherwise
      disburse any funds in hi.s possession except when
      properly authorized to do so by resolution duly passed
      by the Business Committee .         A1.J. checks shall be signed
      by      the    secretary-Treasurer       and   countersigned  as
      designated by resoJ.ution o f the BUsiness Committee .
            The books and records of the Secretary-Treasurer
      shall be audi ted annually and at other ti.mes as
      directed by the Business Committee by a co?IIPetent
      auditor employed by the Committee.           The Commissioner ef
       Indian Affairs may audit th.e triba1 accounts if he
       deems i t necessary.         The Secretc!IY-Tra~·surer shall be
       required to give a surety bond satisfactory to the
       Business Committee and the Com:nissioner of Indian
       Affairs .      The Secretary-Treasurer shall be present at
       all meetings of the Business Commi~tee.
SECTION 2.        Meetings
 (a) The Business committee shal.l hol.d regular business
         meetings each month at the tribal office on a date to
         be set forth by resol.ution of the conunittee.
 (h) Soecial mee tings           may be called at any time by the
          Chairman upon ten (10) houxs written notice delivered
          to members of the, Business Committee and shal.l be
          cal.led and conducted upon petition by five (5) members
          of the c .om:mi ttee.
  (c) A       quorum of five        (5)  committ~ members shal.l be
          present at any meeting before the commit.t ee may be
          officially r.alled to order . . Only members of the
          Business Committee shall have the right to vote.
SECTION 3.        Order of Business
  (a) Roll Call
  (b) Reading of the minutes of previous meeting.
  (c) secretary-Treasurer to report business transactions
 and present any bills, requisitions, claims, etc.
  (d) Hearing of applications, peti t;ions, compl.aints, and
         other business prope:cl.y coming before the committee.
  (e) Any other business.
  Cf) Adj'ou:xcnn\ent.




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                    CER~IFICATION OF ADOPTION

     Pursuant to an o:cder , approved October l.8, l.935 , by the
                                                                          Alnended by · election held January 6, 2004, and approved by
Secretary of the Interior ,          the attached Constitution and
                                                                       Rocky Mountain Regional Director, Bureau of Indian Affairs,
Byla"'s we:i::e submitted for ratification 'to the members of the      Keith Beartusk February 6, 2004.
Rocky Boy' s Band of Chippewas of th.e Rocky; Boy• s Reservation
and were on Novembe.r 2 , l.935 , duly adopted by a vote of 128
for, and 23 against, in an el.action in which over 30 percent
of those entitled to vote cast their ballots, in accordance
with Section l.6 of the Indian Reorganization Act of June 18,
1934 (48 Stat . 984) , as amended by the Act of June 15, 1935
 (.Pub . No. l.47 , 74·th Cong . ) .

                                           John Parker,
                                      Ch;;lirinan of El.action Board
                                           Malcom Hi tchell,
                      Chairman of Rocky Boy's Business · Committee
                                           Joe Corcoran ,
                                                           Secretary
                                           Earl. Wool.dridge,
                                                     Superintendent


   I, HaroJ.d L. Ickes, the Secretary of the Inte:rio;r of the
United States of America, by virtc.e of the authority granted
me by the A.c t of June l.8, l.934 (48 stat. 984), as amended, .do
hereby approve the attached Constitution and Byl.aws of th.e
Chippewa Cree Tribe of the Rocky Boy's Reservation.
   All rules and regulations heretofore promulgated by the
Interior Department or by the Office of Indian Affairs, so far
as they may be incompatibl.e with any of the provisiol).s of the
said Constitution or Bylaws are hereby declared inapplicable
to the Chippewa Cree Tribe of the Rocky Boy's Reservation.
   All officers and employees of the Interior Department are
ordered to abide by the provisi-o ns of the said Constitution
and Bylaws.
   Approval recommended November 15, 1935.

     John Collier,
          Commissioner of Indian Affairs

                                        Harol.d L. Ickes,
                                    Secr~tary of the·· Interior

 Washington, D.C.,
          November 23, 1934


   Amended . by election hel.d April 22, l.972, and approved by
 Assistant Secretary of the 1·nterior, Harrisqn Loesch May 17,
 1972.




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                       EXHIBIT C
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                       CHIPPEWA CREE TRIBE
                               OF THE
              ROCKY BOY’S INDIAN RESERVATION, MONTANA


                     LIMITED LIABILITY COMPANY ACT




                             Ex. C
                             PG - Motion to Dismiss
                                                                      000001
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                    Chippewa Cree Tribe Limited Liability Company Act

Part 1 – General Provisions

Section 101.     Purposes of the LLC Act; Rules of Construction
(1) This Part and all subsequent Parts and sections of this Chapter are for the purpose for
     developing and implementing the processes and procedures for the formation and operation
     of limited liability companies under tribal law.
(2) This Chapter shall be liberally construed and applied to promote its underlying purposes
     and policies.

Section 102.      Definitions.
As used in this Chapter, unless the context requires otherwise, the following definitions apply:
(1) “Articles of organization” means articles filed pursuant to Section 201 of this Chapter and
     those articles as amended or restated. In the case of a foreign limited liability company, the
     term includes all records serving a similar function required to be filed under the laws of
     the tribe, state or country where it is organized.
(2) “At-will company” means a limited liability company other than a term company.
(3) “Business” includes every trade, occupation, profession, or other lawful purpose, whether
     or not carried on for profit.
(4) “Corporation” means a corporation formed under the laws of this tribe or a foreign
     corporation.
(5) “Court” includes every court having jurisdiction in the case, and the Chippewa Cree Tribal
     Court with regard to enforcement of the provisions of this Chapter.
(6) “Debtor in bankruptcy” means a person who is the subject of an order for relief under
     Chapter 11 of the United States Code or a comparable order under federal, state, or tribal
     law governing insolvency.
(7) “Disqualified person” means any person or entity that for any reason is or becomes
     ineligible under this part to become a member in a professional limited liability company.
(8) “Distribution” means a transfer of money, property, or other benefit to a member in that
     member’s capacity as a member of a limited liability company or to a transferee of a
     member’s distributional interest.
(9) “Distributional interest” means all of a member’s interest in the distributions of a limited
     liability company.
(10) “Event of dissociation” means an event that causes a person to cease to be a member.
(11) “Foreign corporation” means a corporation that is organized under laws other than the laws
     of the Chippewa Cree Tribe.
(12) “Foreign limited liability company” means an entity that is
     (a) an unincorporated entity;
     (b) organized under laws other than the laws of the Chippewa Cree Tribe;
     (c) organized under a statute pursuant to which an entity may be formed that affords to
            each of its members limited liability with respect to the liabilities of the entity.
(13) “Foreign limited partnership” means a limited partnership formed under any laws other
     than the laws of the Chippewa Cree Tribe.




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(14) “Foreign professional limited liability company” means a limited liability company
     organized for the purpose of rendering professional services under laws other than the laws
     of the Chippewa Cree Tribe.
(15) “Licensing authority” means an officer, board, agency, court, or other authority on the
     Rocky Boy’s Indian Reservation that has the power to issue a license or other legal
     authorization to render a professional service.
(16) “Limited liability company” or “domestic limited liability company” means an
     organization that is formed under this part.
(17) “Limited partnership” means a limited partnership formed under the laws of the Chippewa
     Cree Tribe or a foreign limited partnership.
(18) “Manager” means a person who, whether or not a member of a manager-managed
     company, is vested with authority under Section 301 of this Chapter.
(19) “Manager-managed company” means a limited liability company that is so designated in its
     articles of organization.
(20) “Member” means a person who has been admitted to membership in a limited liability
     company, as provided in Section 302 of this Chapter and who has not dissociated from the
     limited liability company.
(21) “Member-managed company” means a limited liability company other than a manager-
     managed company.
(22) “Operating agreement” means an agreement, including amendments, as to the conduct of
     the business and affairs of a limited liability company and the relations among the
     members, managers, and the company that is binding upon all of the members.
(23) “Person” means an individual, a general partnership, a limited partnership, a domestic or
     foreign limited liability company, a trust, an estate, an association, a corporation, or any
     other legal or commercial entity.
(24) “Professional limited liability company” means a limited liability company designating
     itself as a professional limited liability company in its articles of organization.
(25) “Professional service” means a service that may lawfully be rendered only by persons
     licensed under a licensing law of the Chippewa Cree Tribe and that may not be lawfully
     rendered by a limited liability company that is not a professional limited liability company.
(26) “Qualified person” means a natural person, limited liability company, general partnership,
     or professional corporation eligible under this part to own shares issued by a professional
     limited liability company.
(27) “Record” means information that is inscribed on a tangible medium or that is stored in an
     electronic or other medium and is recoverable in a perceivable form.
(28) “Secretary” means the Secretary/Accountant of the Chippewa Cree Tribe.
(29) “Sign” means to identify a record by means of a signature, mark, or other symbol with the
     intent to authenticate it.
(30) “State” means the District of Columbia or the Commonwealth of Puerto Rico or any state,
     territory, possession or other jurisdiction of the United States other than the Chippewa Cree
     Tribe.
(31) “Term company” means a limited liability company designated as a term company in its
     articles of organization.

Section 103.     Name.




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(1)   (a)   The name of each limited liability company as set forth in its articles of organization
            must contain the words “limited liability company” or the abbreviations “l.l.c.”, or
            “llc”. The word “limited” may be abbreviated as “ltd.”, and the word “company” may
            be abbreviated as “co.”.
      (b) The name of a limited liability company as set forth in its articles of organization may
            not contain business name identifiers or other language that states or implies that the
            limited liability company is a business other than a limited liability company.
(2)   A limited liability company name must be distinguishable on the records of the Secretary
      from:
      (a) the name of any business corporation, nonprofit corporation, limited partnership, or
            limited liability company organized or reserved under the laws of the Chippewa Cree
            Tribe;
      (b) the name of any foreign business corporation, foreign nonprofit corporation, foreign
            limited partnership, or foreign limited liability company registered or qualified to do
            business on the Rocky Boy’s Indian Reservation;
      (c) any assumed business name, limited partnership name, trademark, service mark, or
            other name registered or reserved with the Secretary; and
      (d) the corporate name of a domestic corporation that has dissolved but only for a period
            of 120 days after the effective date of its dissolution.

Section 104.     Reservation of Name.
(1) The exclusive right to use a name may be reserved by:
     (a) a person intending to organize a limited liability company and to adopt that name;
     (b) a limited liability company or foreign limited liability company registered with the
           Chippewa Cree Tribe that intends to adopt that name;
     (c) a foreign limited liability company intending to register with the Chippewa Cree
           Tribe and to adopt that name; or
     (d) a person intending to organize a foreign limited liability company and to have it
           registered with the Chippewa Cree Tribe and to adopt that name.
(2) The reservation must be made by filing with the Secretary application, executed by the
     applicant, to reserve a specified name. If the Secretary finds that the name is available for
     use by a domestic or foreign limited liability company, the Secretary shall reserve the name
     for the exclusive use of the applicant for a nonrenewable period of 120 days from the date
     the application is filed.
(3) The right to the exclusive use of a reserved name may be transferred to another person by
     filing with the Secretary a notice of the transfer, executed by the applicant for whom the
     name was reserved, and by specifying the name to be transferred and the name and address
     of the transferee. The transfer may not extend the term during which the name is reserved.

Section 105.    Registered Office and Registered Agent.
(1) A limited liability company shall continuously maintain with the Chippewa Cree Tribe:
     (a) a registered office on the Rocky Boy’s Indian Reservation that may, but need not be,
          the same as its place of business; and
     (b) a registered agent for service of process who resides on the Rocky Boy’s Indian
          Reservation and who may be served process, at the registered office, or their
          residence, or business office.



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(2)   Unless the registered agent signed the document making the appointment, the appointment
      of a registered agent or a successor registered agent on whom process may be served is not
      effective until the agent delivers a statement in writing to the Secretary accepting the
      appointment.
(3)   A limited liability company may change its registered office or registered agent, or both, by
      delivering to the Secretary a statement setting forth:
      (a) the name of the limited liability company;
      (b) the address of its current registered office;
      (c) if the address of its registered office is to be changed, the new address of the
             registered office; and
      (d) if its registered agent or the agent’s address is to be changed, the name and address of
             the successor registered agent or the current registered agent’s new address.
(4)   The change of address of the registered office or registered agent is effective on delivery of
      the statement to the Secretary. The appointment of a new registered agent is effective on
      delivery of the statement to the Secretary and on receipt by the Secretary of evidence that
      the new registered agent has accepted appointment pursuant to subsection (2).
(5)   A registered agent of a limited liability company may resign as registered agent by
      delivering a written notice and two copies to the Secretary. The Secretary shall mail a copy
      of the notice to the limited liability company at its registered office and its principal place
      of business. The appointment of the registered agent terminates 30 days after receipt of the
      notice by the Secretary or on the appointment of a new registered agent, whichever occurs
      first.
(6)   If a registered agent changes its address to another place on the Rocky Boy’s Indian
      Reservation, it may change the address by delivering a statement to the Secretary as
      required by subsection (3), except that it need be signed only by the registered agent. The
      statement must recite that a copy of the statement has been mailed to the limited liability
      company.

Section 106.    Purpose of a Limited Liability Company.
(1) A limited liability company organized under Part 2 of this Chapter has the purpose of
     engaging in any lawful business unless a more limited purpose is set forth in the articles of
     organization.
(2) Limited liability companies may be organized under Part 2 of this Chapter for any lawful
     purpose except for the purpose of banking or insurance.

Section 107.      Powers.
A limited liability company may:
(1) if it so elects, sue, be sued, complain, and defend in its name;
(2) transact its business, carry on its operations, and have and exercise the powers granted by
     this part in any tribe or state; in any territory, district, or possession of the United States;
     and in any foreign country;
(3) make contracts and guarantees, incur liabilities, and borrow money;
(4) sell, lease, exchange, transfer, convey, mortgage, pledge, and otherwise dispose of any of
     its assets;
(5) acquire by purchase or in any other manner, take, receive, own, hold, improve, and
     otherwise deal with any interest in real or personal property, wherever located;



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(6)    issue notes, bonds, and other obligations and secure any of them by mortgage, deed of trust,
       or security interest of any of its assets;
(7)    purchase, take, receive, subscribe for, or otherwise acquire, own, hold, vote, use, employ,
       sell, mortgage, loan, pledge, or otherwise dispose of and otherwise use and deal in and with
       stock or other interests in and obligations of domestic and foreign corporations,
       associations, general or limited partnerships, limited liability companies, business trusts,
       and individuals;
(8)    invest its surplus funds, lend money from time to time in any manner that may be
       appropriate to enable it to carry on the operations or fulfill the purposes set forth in its
       articles of organization, and take and hold real property and personal property as security
       for the payment of funds loaned or invested;
(9)    elect or appoint agents and define their duties and fix their compensation;
(10)   sell, convey, mortgage, pledge, lease, exchange, transfer, and otherwise dispose of all or
       any part of its property and assets;
(11)   be a promoter, stockholder, partner, member, associate, or agent of any corporation,
       partnership, domestic or foreign limited liability company, joint venture, trust, or other
       enterprise;
(12)   indemnify and hold harmless any member, agent, or employee from and against any claims
       and demands whatsoever, except in the case of action or failure to act by the member,
       agent, or employee that constitutes willful misconduct or recklessness, and subject to the
       standards and restrictions, if any, set forth in the articles of organization or operating
       agreement;
(13)   cease its activities and dissolve;
(14)   pay pensions and establish pension plans, pension trusts, profit-sharing plans, share bonus
       plans, share option plans, and benefit or incentive plans for any of its current or former
       directors, officers, employees, and agents;
(15)   make donations for the public welfare or for charitable, religious, scientific, or educational
       purposes and, in time of war, make donations in aid of war activities; and
(16)   do every other act not inconsistent with law that is appropriate to promote and further the
       business and affairs of the limited liability company.

Section 108.     Effect of Operating Agreement—Nonwaivable Provisions.
(1) Except as provided in subsection (2), all members of a limited liability company may enter
     into an operating agreement, which need not be in writing, to regulate the affairs of the
     company and the conduct of its business and to govern relations among the members,
     managers, and company. To the extent that the operating agreement does not otherwise
     provide, this part governs relations among the members, managers, and company.
(2) An operating agreement need not be in writing except as otherwise provided in this part to:
     (a) vary the recordkeeping requirements under Section 306 of the Chapter;
     (b) vary the rights of members to share in distributions under Section 501 or Section 805
           of the Chapter; or
     (c) vary the process for admission of members under Section 302 of the Chapter.
(3) The operating agreement may not:
     (a) unreasonably restrict a right to information or access to records under Section 306 of
           the Chapter.




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     (b) eliminate the duty of loyalty under Section 305 of the Chapter, but the agreement
     may:
          (i) identify specific types or categories of activities that do not violate the duty of
                loyalty, if not manifestly unreasonable; and
          (ii) specify the number or percentage of members or disinterested managers that
                may authorize or ratify, after full disclosure of all material facts, a specific act
                or transaction that otherwise would violate the duty of loyalty;
     (c) unreasonably reduce the duty of care under Section 305 of the Chapter;
     (d) eliminate the obligation of good faith and fair dealing under Section 305 of the
          Chapter, but the operating agreement may determine the standards by which the
          performance of the obligation is to be measured, if the standards are not manifestly
          unreasonable;
     (e) vary the right to expel a member upon the occurrence of an event specified in Section
          701 of the Chapter
     (f) vary the requirement to wind up the limited liability company’s business in a case
          specified in Section 801(l)(c) or Section 802 of the Chapter; or
     (g) restrict the rights of a person under this part, other than a manager, member, or
          transferee of a member’s distributional interest.

Part 2 – Formation

Section 201.     Formation.
(1) One or more persons may form a limited liability company consisting of one or more
     members by signing and filing articles of organization with the Secretary. The person or
     persons need not be members of the limited liability company at the time of formation or
     after formation has occurred. A limited liability company is a legal entity distinct from its
     members.
(2) Unless a delayed effective date is specified, the existence of a limited liability company
     begins when the articles of organization are filed with the Secretary.
(3) The filing of the articles of organization by the Secretary pursuant to Section 205 of the
     Chapter is conclusive proof that the organizers have satisfied all conditions precedent to the
     creation of a limited liability company.

Section 202.    Articles of Organization.
(1) The articles of organization must set forth:
     (a) the name of the limited liability company that satisfies the requirements of Section
          103 of this Chapter;
     (b) whether the company is a term company and, if so, the term specified;
     (c) the complete street address of its principal place of business on the Rocky Boy’s
          Indian Reservation and, if different, its registered office and the name and complete
          street address of its registered agent at the registered office on the Rocky Boy’s
          Indian Reservation;
     (d) (i)     if the limited liability company is to be managed by a manager or managers, a
                statement that the company is to be managed in that fashion and the names of
                managers who are to serve as managers until the first meeting of members or
                until their successors are elected;



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            (ii)   if the management of a limited liability company is reserved to the members, a
                   statement that the company is to be managed in that fashion and the names and
                   street addresses of the initial members;
      (e)   if the limited liability company is a professional limited liability company, a
            statement to that effect and a statement of the professional service or services it will
            render; and

      (f)     any other provision, not inconsistent with law, that the members elect to set out in the
             articles, including but not limited to a statement of whether there are limitations on
             the authority of members or management to bind the limited liability company.
(2)   It is not necessary to set out in the articles of organization any of the powers enumerated in
      Section 107 of the Chapter.
(3)   The articles of organization may not vary any nonwaivable provision set out in this
      Chapter. As to all other matters, if any provision of an operating agreement is inconsistent
      with the articles of organization:
      (a) the operating agreement controls as to managers, members, and a member’s
             transferee; and
      (b) the articles of organization control as to a person, other than a manager, member, and
             member’s transferee, that reasonably relies on the articles of organization to that
             person’s detriment.

Section 203.     Amendment of Articles of Organization—Restatement.
(1) The articles of organization of a limited liability company are amended by filing articles of
     amendment with the Secretary. The articles of amendment must set forth:
     (a) the name of the limited liability company;
     (b) the date the articles of organization were filed; and
     (c) the amendment to the articles of organization.
(2) The articles of organization may be amended as desired, so long as the amended articles of
     organization contain only provisions that may be lawfully contained in articles of
     organization at the time of making the amendment.
(3) Articles of organization may be restated at any time. Restated articles of organization must
     be filed with the Secretary, must be specifically designated as such in the heading, and
     must state either in the heading or in an introductory paragraph the limited liability
     company’s present name and, if it has been changed, all of its former names and the date of
     the filing of its articles of organization. Restated articles of organization supersede the
     original articles of organization and any previous amendments to the original articles of
     organization.
(4) An amendment to the articles of organization of a limited liability company must be in the
     form and manner designated by the Secretary.

Section 204.     Execution of Documents.
(1) Unless otherwise specified in this part, a document required by this part to be filed with or
     delivered to the Secretary must be executed:
     (a) by any manager if management of the limited liability company is vested in one or
           more managers or by a member if management of the limited liability company is
           reserved to the members;



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      (b)   if the limited liability company has not been formed, by the person or persons
            forming the limited liability company; or
      (c) if the limited liability company is in the hands of a receiver, trustee, or other court-
            appointed fiduciary, by that fiduciary.
(2)   The person executing the document shall sign it and state, beneath or opposite the
       signature, the person’s name and the capacity in which the person signs.
(3)   The person executing the document may do so as an attorney-in-fact. Powers of attorney
       relating to the execution of the document do not need to be shown to or filed with the
       Secretary.

Section 205.      Filing With Secretary.
(1) The original signed copy, together with a duplicate copy that may be either a signed,
     photocopied, or confirmed copy, of the articles of organization or any other document
     required to be filed pursuant to this part must be delivered to the Secretary. If the Secretary
     determines that the documents conform to the filing provisions of this part, the Secretary
     shall, when all required filing fees have been paid:
     (a) endorse on each signed original and duplicate copy the word “filed” and the date of
           its acceptance for filing;
     (b) retain the signed original in the Secretary’s files; and
     (c) return the duplicate copy to the person who filed it or to the person’s representative.
(2) If the Secretary is unable to make the determination required for filing by subsection (1) at
     the time any documents are delivered for filing, the documents are considered to have been
     filed at the time of delivery if the Secretary subsequently determines that the documents as
     delivered conform to the filing provisions of Part 2 of this Chapter.
(3) The filing fee shall be $25.00, except for the Tribe or a tribally-owned business.
(4)
Section 206.      Effect of Delivery or Filing of Articles of Organization.
(1) A limited liability company is formed when the articles of organization are delivered to the
     Secretary for filing.
(2) Each copy of the articles of organization stamped or marked “filed” and marked with the
     filing date is conclusive evidence that all conditions precedent required to be performed by
     the organizers have been complied with and that the limited liability company has been
     legally organized and formed under this part.

Section 207.     Annual Report For Secretary.
(1) A limited liability company or a foreign limited liability company authorized to transact
     business by the Chippewa Cree Tribe on the Rocky Boy’s Indian Reservation shall deliver
     to the Secretary, for filing, an annual report that sets forth:
     (a) the name of the limited liability company and the tribe, state, or country under whose
           law it is organized;
     (b) the mailing address and, if different, street address of its registered office and the
           name of its registered agent at that office on the Rocky Boy’s Indian Reservation;
     (c) the address of its principal office;
     (d) (i) if the limited liability company is managed by a manager or managers, a
                  statement that the company is managed in that fashion and the names and
                  addresses of the managers;



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           (ii)   if the management of a limited liability company is reserved to the members, a
                   statement to that effect;
      (e) if the limited liability company is a professional limited liability company, a
            statement that all of its members and not less than one-half of its managers are
            qualified persons with respect to the limited liability company.
(2)   Information in the annual report must be current as of the date the annual report is executed
      on behalf of the limited liability company.
(3)   The first annual report must be delivered to the Secretary between January 1 and April 15
      of the year following the calendar year in which a domestic limited liability company is
      organized or a foreign limited liability company is authorized to transact business.
      Subsequent annual reports must be delivered to the Secretary between January 1 and April
      15.
(4)   If an annual report does not contain the information required by this section, the Secretary
      shall promptly notify the reporting domestic or foreign limited liability company in writing
      and return the report to it for correction.
(5)   The annual report must be executed by at least one member of the limited liability company
      and must include the street address of the member.
(6)   A domestic professional limited liability company or a foreign professional limited liability
      company authorized to transact business on the Rocky Boy’s Indian Reservation shall
      annually file before April 15, with each licensing authority having jurisdiction over a
      professional service of a type described in its articles of organization, a statement of
      qualification setting forth the names and addresses of the members and managers of the
      company and additional information that the licensing authority may by rule prescribe as
      appropriate in determining whether the company is complying with this Chapter. The
      licensing authority may charge a fee to cover the cost of filing a statement of qualification.

Section 208.     Administrative Dissolution—Rules.
(1) A domestic limited liability company maybe dissolved involuntarily by order of the
     Secretary if the limited liability company:
     (a) (i) has failed for 60 days after a change of its registered office or registered agent to
                 file in the office of the Secretary a statement of the change; or
           (ii) has failed for 60 days to appoint and maintain a registered agent on the Rocky
                 Boy’s Indian Reservation;
     (b) has failed for 140 days to file its annual report within the time required by law;
     (c) has failed to remit any fees required by law;
     (d) procured its certificate of existence through fraud; or
     (e) has exceeded or abused the authority conferred upon it by law and the excesses or
           abuses have continued after a written notice of the alleged excesses or abuses has
           been received from the Secretary by the registered agent of the limited liability
           company.
(2) If dissolution is sought under subsection (1)(d) or (l)(e), the Secretary may dissolve a
     limited liability company when an alleged violation of subsection (l)(d) or (1)(e) is
     established by an order of tribal court or a court of another appropriate jurisdiction. In
     addition to any other person authorized by law, the Secretary or the tribal prosecutor may
     maintain an action in tribal court to implement the provisions of this section.
(3)



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Section 209.      Reinstatement of Dissolved Limited Liability Company.
(1) The Secretary may:
     (a) reinstate a limited liability company that has been dissolved under the provisions of
            Section 208 of this Chapter.
     (b) restore to a reinstated limited liability company its right to carry on business on the
            Rocky Boy’s Indian Reservation to exercise all of its privileges and immunities.
(2) A limited liability company applying for reinstatement shall submit to the Secretary the
     application, executed by a person who was a member at the time of dissolution, setting
     forth:
     (a) the name of the limited liability company;
     (b) a statement that the assets of the limited liability company have not been liquidated;
     (c) a statement that a majority of its members have authorized the application for
            reinstatement; and
     (d) if its name has been legally acquired by another entity prior to its application for
            reinstatement, the name under which the limited liability company desires to be
            reinstated.
(3) The limited liability company shall submit with its application for reinstatement:
     (a) all annual reports not yet filed with the Secretary.
(4) When all requirements are met and the Secretary reinstates the limited liability company to
     its former rights, the Secretary shall:
     (a) conform and file in the office of the Secretary reports, statements, and other
            instruments submitted for reinstatement;
     (b) immediately issue and deliver to the reinstated limited liability company a certificate
            of reinstatement authorizing it to transact business; and
     (c) upon demand, issue to the limited liability company one or more certified copies of
            the certificate of reinstatement.
(5) The Secretary shall not order a reinstatement if 5 years have elapsed since the dissolution.
(6) A restoration of limited liability company rights pursuant to this section relates back to the
     date the limited liability company was involuntarily dissolved, and the limited liability
     company is considered to have been an existing legal entity from the date of its original
     organization.

Section 210.   Fees For Filing, Copying, and Services.
(1) The Secretary shall collect fees for the following:
     (a) filing documents as required by this Chapter; and
     (b) copying documents, priority handling documents, transmitting facsimile copies of
          documents, and providing computer-generated information.

Section 211.    License Fee.
(1) In addition to the filing fee authorized by Section 210 of this Chapter, the Secretary shall
     charge and collect from each foreign limited liability company:
     (a) a license fee at the time of filing its articles of incorporation; and
     (b) a license fee at the time of filing an application for a certificate of authority to transact
          business.

Section 212.     Correcting Filed Record.



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(1)   A limited liability company or foreign limited liability company may correct a record filed
      by the Secretary if the record contains a false or erroneous statement or was defectively
      signed.
(2)   A record must be corrected by:
      (a) preparing articles of correction that:
            (i) describe the record, including its filing date, or have attached a copy of the
                  record to the articles of correction;
            (ii) specify the incorrect statement and the reason that it is incorrect or the manner
                  in which the signing was defective; and
            (iii) correct the incorrect statement or defective signing; and
      (b) delivering the corrected record to the Secretary for filing.
(3)   Articles of correction are effective retroactively on the effective date of the record that they
      correct except as to persons relying on the uncorrected record and adversely affected by the
      correction. As to those persons, the articles of correction are effective when filed.

Section 213.      Certificate of Existence or Authority.
(1) A person may request the Secretary to furnish a certificate of existence for a limited
     liability company or a certificate of authority for a foreign limited liability company.
(2) A certificate of existence for a limited liability company must set forth:
     (a) the company’s name;
     (b) that it is organized under the laws of the Chippewa Cree Tribe, the date of
            organization, whether its duration is at-will or for a specified term, and, if for a
            specified term, the period specified;
     (c) if payment is reflected in the records of the Secretary and if nonpayment affects the
            existence of the company, that all fees, taxes, and penalties owed to the Chippewa
            Cree Tribe have been paid;
     (d) whether its most recent annual report required by Section 207 of this Chapter has
            been filed with the Secretary;
     (e) that articles of termination have not been filed; and
     (f) other facts of record in the office of the Secretary if requested by the applicant.
(3) A certificate of authority for a foreign limited liability company must set forth:
     (a) the company’s name used on the Rocky Boy’s Indian Reservation;
     (b) that it is authorized to transact business on the Rocky Boy’s Indian Reservation;
     (c) whether its most recent annual report required by Section 207 of the Chapter has been
            filed with the Secretary;
     (d) that a certificate of cancellation has not been filed; and
     (e) other facts of record in the office of the Secretary if requested by the applicant.
(4) Subject to any qualification stated in the certificate, a certificate of existence or authority
     issued by the Secretary may be relied upon as conclusive evidence as of the date of the
     certificate that the domestic or foreign limited liability company is in existence or is
     authorized to transact business on the Rocky Boy’s Indian Reservation.

Section 214.     Liability For False Statement in Filed Record.
Subject to Section 303 of this Chapter, if a record authorized or required to be filed under this
Chapter contains a false statement, a person who suffers loss by reliance on the statement may
recover damages for the loss from the person who signed the record or caused another to sign it



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on that person’s behalf and who knew the statement to be false at the time that the record was
signed.

Section 215.       Filing By Judicial Act.
If a person required by Section 204 of this Chapter to execute any record or document fails or
refuses to do so, a person who is adversely affected by the failure or refusal may petition the
Chippewa Cree Tribal Court to direct the signing of the record or document. If the court finds
that it is proper for the record or document to be signed and that a designated person has failed or
refused to sign the record, it shall order the Secretary to sign and file an appropriate record or
document.

Section 216.     Knowledge and Notice.
(1) A person knows a fact if the person has actual knowledge of the fact.
(2) A person has notice of a fact if the person:
     (a) knows the fact;
     (b) has received a notification of the fact; or
     (c) has reason to know that the fact exists from other facts known to the person at the
           time in question.
(3) A person notifies or gives a notification of a fact to another by taking steps reasonably
     required to inform the other person, whether or not the other person knows the fact.
(4) A person receives a notification when the notification:
     (a) comes to the persons attention; or
     (b) is delivered at the person’s place of business or at any other place held out by the
           person as a place for receiving communications.
(5) (a) An entity knows, has notice, or receives a notification of a fact for purposes of a
           particular transaction:
           (i) when an individual conducting the transaction for the entity knows, has notice,
                 or receives a notification of the fact; or
           (ii) when the fact would have been brought to the individual’s attention had the entity
                 exercised reasonable diligence.
     (b) (i) An entity exercises reasonable diligence if it maintains reasonable routines for
                 communicating significant information to the individual conducting the
                 transaction for the entity and there is reasonable compliance with the routines.
           (ii) Reasonable diligence does not require an individual acting for the entity to
                 communicate information unless the communication is part of the individual’s
                 regular duties or the individual has reason to know of the transaction and to
                 know that the transaction would be materially affected by the information.

Part 3 – Members/Managers

Section 301.     Agency Power of Members and Managers.
(1) Except as provided in subsection (2), a member is an agent of the limited liability company
     for the purpose of its business or affairs and the act of a member, including but not limited
     to the execution of any instrument in the name of the limited liability company for
     apparently carrying on in the usual way the business or affairs of the limited liability
     company binds the limited liability company, unless the member so acting has, in fact, no



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      authority to act for the limited liability company in the particular matter and the person
      with whom the member is dealing has knowledge of the fact that the member has no such
      authority.
(2)   If the articles of organization provide that management of the limited liability company is
      vested in a manager or managers, whether designated as “manager” or otherwise:
      (a) a member, acting solely in the capacity as a member, may not be an agent of the
            limited liability company; and
      (b) a manager is an agent of the limited liability company for the purpose of its business
            or affairs and the act of a manager, including but not limited to the execution of any
            instrument in the name of the limited liability company for apparently carrying on in
            the usual way the business or affairs of the limited liability company binds the limited
            liability company, unless the manager so acting has, in fact, no authority to act for the
            limited liability company in the particular matter and the person with whom the
            manager is dealing has knowledge of the fact that the manager has no such authority.
(3)   An act of a manager or a member that is not apparently for carrying on in the usual way the
      business of the limited liability company does not bind the limited liability company,
      unless authorized in accordance with the articles of organization or the operating
      agreement, at the time of the transaction or at any other time.
(4)   An act of a manager or member in contravention of a restriction on authority may not bind
      the limited liability company to persons having knowledge of the restriction.

Section 302.     Admissions of Members and Managers.
(1) Except as provided in subsection (2), an admission or representation made by a member
     concerning the business or affairs of a limited liability company within the scope of the
     member’s authority as provided for by this part is evidence against the limited liability
     company.
(2) If the articles of organization provide that management of the limited liability company is
     vested in a manager or managers:
     (a) an admission or representation made by a manager concerning the business or affairs
          of a limited liability company within the scope of the manager’s authority, as
          provided for by this part, is evidence against the limited liability company; and
     (b) the admission or representation of a member, acting solely in the capacity as a
          member, may not constitute evidence.

Section 303. Limited Liability Company Liability For Member’s or Manager’s Conduct.
(1) A limited liability company is liable for loss or injury caused to a person, or for a penalty
     incurred, as a result of a wrongful act or omission or other actionable conduct of a member
     or manager acting in the ordinary course of business of the company or with the authority
     of the company.
(2) The failure of a limited liability company to observe the usual company formalities or
     requirements relating to the exercise of its company power or management of its business
     is not a ground for imposing personal liability on the member or managers of the limited
     liability company.
(3)
Section 304.     Management and Voting.




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(1)   Unless the articles of organization or the operating agreement provide otherwise, in a
      member-managed company:
      (a) each member has equal rights in the management and conduct of the company’s
           business; and
      (b) except as provided in subsection (3), any matter relating to the business of the
           company may be decided by a majority of the members.
(2)   Unless the articles of organization or the operating agreement provide otherwise, in a
      manager- managed company:
      (a) each manager has equal rights in the management and conduct of the company’s
           business;
      (b) except as provided in subsection (3), any matter relating to the business of the
           company may be exclusively decided by the manager or, if there is more than one
           manager, by a majority of the managers; and
      (c) a manager:
           (i) must be designated, appointed, elected, removed, or replaced by a vote,
                  approval, or consent of a majority of the members; and
           (ii) holds office until a successor has been elected and qualified, unless the manager
                  sooner resigns or is removed.
(3)   Unless the articles of organization or the operating agreement provide otherwise, the only
      matters of a member-managed or manager-managed company’s business requiring the
      consent of all of the members are:
      (a) the amendment of the operating agreement under Section 108 of this Chapter;
      (b) the authorization or ratification of acts or transactions under Section 108(3)(b)(ii) of
           this Chapter that would otherwise violate the duty of loyalty;
      (c) an amendment to the articles of organization under Section 203 of this Chapter;
      (d) the compromise of an obligation to make a contribution under Section 402 of this
           Chapter;
      (e) the compromise, as among members, of an obligation to make a contribution or return
           money or other property paid or distributed in violation of this part;
      (f) the making of interim distributions under Section 501 of this Chapter, including the
           redemption or repurchase of an interest;
      (g) the admission of a new member;
      (h) the use of the company’s property to redeem an interest subject to a charging order;
      (i) the consent to dissolve the company under Section 801 of this Chapter;
      (j) a waiver of the right to have the company’s business wound up and the company
           terminated under Section 801 of this Chapter;
      (k) the sale, lease, exchange, or other disposal of all, or substantially all, of the
           company’s property with or without goodwill.
(4)   Action requiring the consent of members or managers under this Chapter may be taken
      without a meeting.
(5)   A member or manager may appoint a proxy to vote or otherwise act for the member or
      manager by signing an appointment instrument, either personally or by the member’s or
      manager’s attorney-in-fact.

Section 305.   General Standards of Member’s and Manager’s Conduct.
(1) The only fiduciary duties that a member owes to a member-managed company and the



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      other members are the duty of loyalty imposed by subsection (2) and the duty of care
      imposed by subsection (3).
(2)    A member’s duty of loyalty to a member-managed company and its other members is
      limited to the following:
      (a) to account to the company and to hold as trustee for it any property, profit, or benefit
            derived by the member in the conduct or winding up of the company’s business or
            derived from a use by the member of the company’s property, including the
            appropriation of a company’s opportunity;
      (b) to refrain from dealing with the company in the conduct or winding up of the
            company’s business on behalf of a party or as a person having an interest adverse to
            the company; and
      (c) to refrain from competing with the company in the conduct of the company’s
            business before the dissolution of the company.
(3)   A member’s duty of care to a member-managed company and the other members in the
      conduct of and winding up of the company’s business is limited to refraining from
      engaging in grossly negligent or reckless conduct, intentional misconduct, or a knowing
      violation of law.
(4)   A member shall discharge the duties under this part or the operating agreement to a
      member- managed company and its other members and exercise any rights consistently
      with the obligation of good faith and fair dealing.
(5)   A member of a member-managed company does not violate a duty or obligation under this
      part or under the operating agreement merely because the member’s conduct furthers the
      member’s own interest.
(6)   A member of a member-managed company may lend money to and transact other business
      with the company. As to each loan or transaction, the rights and obligations of the member
      are the same as those of a person who is not a member, subject to other applicable law.
(7)   This section applies to a person winding up the limited liability company’s business as the
      personal or legal representative of the last-surviving member as if the person were a
      member.
(8)   In a manager-managed company:
      (a) a member who is not also a manager owes no duties to the company or to the other
            members solely by reason of being a member;
      (b) a manager is held to the same standards of conduct as those prescribed for members
            in subsections (2) through (6);
      (c) a member who pursuant to the operating agreement exercises some or all of the rights
            of a manager in the management and conduct of the company’s business is held to the
            standards of conduct prescribed for members in subsections (2) through (6) to the
            extent that the member exercises the managerial authority vested in a manager by this
            part; and
      (d) a manager is relieved of liability imposed by law for violation of the standards
            prescribed for members by subsections (2) through (6) to the extent of the managerial
            authority delegated to the members by the operating agreement.

Section 306.     Records and Information.
(1) Unless otherwise provided in the articles of organization or a written operating agreement,
     a limited liability company shall keep at its principal place of business the following:



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      (a)    a current and past list, setting forth the full name and last-known mailing address of
            each member and manager, if any, set forth in alphabetical order;
      (b) a copy of the articles of organization and all amendments to the articles, together with
            executed copies of any powers of attorney pursuant to which any articles have been
            executed;
      (c) copies of the limited liability company’s (if applicable) federal, state, and local
            income tax returns and financial statements, if any, for the 3 most recent years or, if
            the returns and statements were not prepared for any reason, copies of the information
            and statements provided to or that should have been provided to the members to
            enable them to prepare their federal, state, and local tax returns for the period;
      (d) copies of any effective written operating agreements and all amendments and copies
            of any written operating agreements no longer in effect;
      (e) unless provided in writing in an operating agreement:
            (i) a writing, if any, setting forth the amount of cash, the agreed value of other
                  property or services contributed by each member, and the times or events upon
                  which any additional contributions agreed to by each member are to be made;
            (ii) a writing, if any, stating events that require the limited liability company to be
                  dissolved and its affairs wound up; and
            (iii) other writings, if any, prepared pursuant to a requirement in an operating
                  agreement.
(2)   (a) A member may, at the member’s own expense, inspect and copy any limited liability
            company record, wherever the record is located, upon reasonable request during
            ordinary business hours.
      (b) A former member and agents or attorneys of a former member must be provided
            access and the same right to copy records pertaining to the period that the former
            member was a member.
(3)   Members, if the management of the limited liability company is vested in the members, or
      managers, if management of the limited liability company is vested in the managers, shall
      render, to the extent the circumstances make it just and reasonable, true and full
      information of all things affecting the members to any member and to the legal
      representative of any deceased member or of any member under legal disability.
(4)   Failure of the limited liability company to keep or maintain any of the records or
      information required pursuant to this section may not be grounds for imposing liability on
      any person for the debts and obligations of the limited liability company.

Section 307.     Actions By Members.
(1) A member may maintain an action against a limited liability company or another member
     for legal or equitable relief, with or without an accounting as to the company’s business, to
     enforce:
(a) the member’s rights under the operating agreement;
(b) the member’s rights under this part; or
(c) the rights and otherwise protect the interests of the member, including rights and interests
           arising independently of the member’s relationship to the company.
(2) The accrual of a right of action under this section and any time limits for asserting the right
     of action for a remedy under this section are governed by the laws of the Chippewa Cree




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     Tribe. A right to an accounting upon a dissolution and winding up does not revive a claim
     barred by law.

Section 308.     Continuation of Term Company After Expiration of Specified Term.
(1) If a term company is continued after the expiration of the specified term, the rights and
     duties of the members and managers remain the same as they were at the expiration of the
     term except to the extent inconsistent with rights and duties of members and managers of
     an at-will company.
(2) If the members in a member-managed term company or the managers in a manager-
     managed term company continue the business without any winding up of the business of
     the company, it continues as an at-will company.

Part 4 – Finance

Section 401.      Contributions to Capital.
An interest in a limited liability company may be issued in exchange for tangible or intangible
property or other benefit to the company, including money, promissory notes, services
performed, or other agreements to contribute cash or property or contracts for services to be
performed.

Section 402.     Liability For Contribution.
(1) A promise by a member to contribute to the limited liability company is not enforceable
     unless set out in a writing signed by the member.
(2) (a) Except as provided in the articles of organization or the operating agreement, a
          member is obligated to the limited liability company to perform any enforceable
          promises to contribute cash or property or to perform services even if the member is
          unable to perform because of death, disability, or other reason.
     (b) If a member does not make the required contribution of property or services, the
          member is obligated, at the option of the limited liability company, to contribute cash
          equal to that portion of value or the stated contribution that has not been made.
(3) (a) Unless otherwise provided in the articles of organization or the operating agreement,
          the obligation of a member to make a contribution or return money or other property
          paid or distributed in violation of this part may be compromised only with the
          unanimous consent of the members.
     (b) A creditor of a limited liability company who extends credit or otherwise acts in
          reliance on an obligation described in subsection (1), and without notice of any
          compromise, may enforce the original obligation.

Section 403.     Sharing of Profits and Losses.
Unless otherwise provided in the articles of organization or a written operating agreement, each
member must be repaid that member’s contributions to capital and share equally in the profits,
losses, and surpluses remaining after all liabilities, including those to members, are satisfied.

Section 404.    Member’s and Manager’s Rights to Payments and Reimbursement.
(1) A limited liability company shall reimburse a member or manager for payments made and
     indemnify a member or manager for liabilities incurred by the member or manager in the



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      ordinary course of the business of the company or for the preservation of the company’s
      business or property.
(2)   A limited liability company shall reimburse a member for an advance to the company
      beyond the amount of contribution that the member agreed to make.
(3)   A payment or advance made by a member that gives rise to an obligation of a limited
      liability company under subsection (1) or (2) constitutes a loan to the company upon which
      interest accrues from the date of the payment or advance.
(4)   A member is not entitled to remuneration for services performed for a limited liability
      company except for reasonable compensation for services rendered in winding up the
      business of the company.

Part 5 – Distribution

Section 501.       Sharing of Distributions.
Except as provided in Section 805 of this Chapter, distributions of cash or other assets of a
limited liability company must be shared among the members and among classes of members in
the manner provided in writing in the articles of organization or the operating agreement. If the
articles of organization or the operating agreement does not so provide in writing, each member
shall share equally in any distribution. A member is entitled to receive distributions described in
this section from a limited liability company to the extent and at the times or upon the happening
of the events specified in the articles of organization or the operating agreement or at the times
determined by the members or managers pursuant to Section 304(3)(f).

Section 502.     Distribution In Kind.
Except as provided in the articles of organization or the operating agreement:
(1) a member, regardless of the nature of the member’s contribution, may not demand or
     receive any distribution from a limited liability company in any form other than cash; and
(2) a member may not be compelled to accept from a limited liability company a distribution
     of any asset in kind to the extent that the percentage of the asset distributed to the members
     exceeds a percentage of that asset that is equal to the percentage in which the member
     shares in distributions from the limited liability company.

Section 503.     Distributions.
(1) A distribution may not be made if, after giving effect to the distribution:
     (a) the limited liability company would not be able to pay its debts as they become due in
          the usual course of business; or
     (b) the limited liability company’s total assets would be less than the sum of its total
          liabilities plus, unless the articles of organization or the operating agreement provides
          otherwise, the amount that would be needed, if the limited liability company were to
          be dissolved at the time of the distribution, to satisfy the preferential rights of other
          members upon dissolution that are superior to the rights of the member receiving the
          distribution.
(2) The limited liability company may base a determination that a distribution is not prohibited
     under subsection (1) on either:
     (a) financial statements prepared on the basis of accounting practices and principles that
          are reasonable under the circumstances; or



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      (b) a fair valuation or other method that is reasonable under the circumstances.
(3)   Except as provided in subsection (5), the effect of a distribution under subsection (1) is
      measured as of:
      (a) the date the distribution is authorized if the payment occurs within 120 days after the
            date of authorization; or
      (b) the date payment is made if it occurs more than 120 days after the date of
            authorization.
(4)   A limited liability company’s indebtedness to a member incurred by reason of a
      distribution to be made to that member in accordance with this section is at parity with the
      limited liability company’s indebtedness to its general unsecured creditors, except as
      otherwise provided by agreement.
(5)   For purposes of this section:
      (a) if terms of indebtedness provide that payment of principal and interest is to be made
            only if and to the extent that payment of a distribution to members could then be
            made under this section, indebtedness of a limited liability company, including
            indebtedness issued as a distribution, is not a liability for purposes of determinations
            made under subsection (2); and
      (b) if the indebtedness is issued as a distribution, each payment of principal or interest on
            the indebtedness is treated as a distribution, the effect of which is measured on the
            date the payment is actually made.

Section 504.      Liability Upon Wrongful Distribution.
(1) A member or manager who votes for or assents to a distribution in violation of the articles
     of organization, the operating agreement, or Section 503 of this Chapter is personally liable
     to the limited liability company, but not to other persons, for the amount of the distribution
     that exceeds what could have been distributed without violating Section 503 of this Chapter
     or the articles of organization or the operating agreement if it is established that the
     member or manager did not perform the member’s or manager’s duties in compliance with
     Section 305 of this Chapter.
(2) A member of a manager-managed company who knew a distribution was made in violation
     of Section 503 of this Chapter, the articles of organization, or the operating agreement is
     personally liable to the company, but only to the extent that the distribution received by
     that member exceeded the amount that could have properly been paid to that member under
     Section 503 of this Chapter.
(3) A member or manager against whom an action is brought under this section may implead
     in the action:
     (a) other members and managers who voted for or assented to the distribution in
           violation of subsection (1) and may compel contribution from them; and
     (b) members who received a distribution in violation of subsection (2) and may compel a
           contribution from the members in the amount received in violation of subsection (2).
(4) A proceeding under this section is barred unless it is commenced within 2 years after the
     date of the distribution.

Section 505.      Right to Distribution.
Subject to Section 805, when a member becomes entitled to receive a distribution, the member
has the status of and is entitled to all remedies available to a creditor of the limited liability



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company with respect to the distribution.

Part 6 – Ownership and Transfer of Property.

Section 601.      Ownership of Limited Liability Company Property.
(1) Property transferred to or otherwise acquired by a limited liability company becomes
     property of the limited liability company. A member has no interest in specific limited
     liability company property.
(2) Property may be acquired, held, and conveyed in the name of the limited liability company.
     Any estate in real property may be acquired in the name of the limited liability company,
     and title to any estate acquired must vest in the limited liability company rather than in the
     members individually.

Section 602.       Transfer of Real Property.
(1) Except as provided in subsection (5), title to property of the limited liability company that
     is held in the name of the limited liability company may be transferred by an instrument of
     transfer executed by any member in the name of the limited liability company.
(2) Title to property of the limited liability company that is held in the name of one or more
     members or managers may be transferred by an instrument of transfer executed by the
     persons in whose name title is held if there is an indication in the instrument transferring
     title to the property to them of:
     (a) their capacity as members or managers of a limited liability company; or
     (b) the existence of a limited liability company, even if the name of the limited liability
            company is not indicated.
(3) Property transferred under subsection (1) or (2) may be recovered by the limited liability
     company if it proves that the act of the person executing the instrument of transfer did not
     bind the limited liability company under Section 301 of this Chapter unless the property
     has been transferred by the initial transferee or a person claiming through the initial
     transferee to a subsequent transferee who gives value without having notice that the person
     who executed the instrument of initial transfer lacked authority to bind the limited liability
     company.
(4) Title to property of the limited liability company may be transferred free of any claims of
     the limited liability company or its members by the persons in whose name title is held to a
     transferee who gives value without having notice that it is property of a limited liability
     company if title is held in the name of one or more persons other than the limited liability
     company and there is no indication in the instrument transferring title to the property to
     them of:
     (a) their capacity as members or managers of a limited liability company; or
     (b) the existence of a limited liability company.
(5) If the articles of organization provide that management of the limited liability company is
     vested in a manager or managers:
     (a) title to property of the limited liability company that is held in the name of the limited
            liability company may be transferred by an instrument of transfer executed by any
            manager in the name of the limited liability company; and
     (b) a member, acting solely in the capacity of a member, may not transfer title as
            provided in subsection (5)(a).



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Section 603.     Nature of Distributional Interest.
(1) A member is not a co-owner of, and does not have a transferable interest in, property of a
     limited liability company.
(2) A member’s distributional interest in a limited liability company is personal property and,
     subject to the provisions of Section 605 of this Chapter, may be transferred in whole or in
     part.
(3) An operating agreement may provide that a members distributional interest may be
     evidenced by a certificate of the interest issued by the limited liability company and,
     subject to the provisions of Section 605 of this Chapter, may also provide for the transfer of
     any interest represented by the certificate.

Section 604.      Rights of Judgment Creditor.
(1) On application to a court of competent jurisdiction by any judgment creditor of a member,
     the court may charge the distributional interest of the member with payment of the
     unsatisfied amount of judgment, with interest. To the extent charged, the judgment creditor
     has only the rights of an assignee of the distributional interest. This part does not deprive a
     member of the benefit of any exemption laws applicable to a distributional interest.
(2) The court may appoint a receiver of the share of the distributions due or to become due to a
     judgment debtor and make all other orders, directions, accounts, and inquiries that the
     judgment debtor may have made or that the circumstances require to give effect to the
     charging order.
(3) A charging order constitutes a lien on the judgment debtors distributional interest. The
     court may order a foreclosure of a lien on a distributional interest subject to the charging
     order at any time. A purchaser of the distributional interest at a foreclosure sale has the
     rights of a transferee.
(4) At any time before foreclosure, a distributional interest that is charged may be redeemed:
     (a) by the judgment debtor;
     (b) by one or more of the other members with property other than the company’s; or
     (c) with the company’s property if permitted by the operating agreement.
(5) This section provides the exclusive remedy by which a judgment creditor of a member or a
     transferee may satisfy a judgment out of the judgment debtor’s distributional interest in a
     limited liability company.

Section 605.     Transfer of Distributional Interest—Rights of Transferee.
(1) A transfer of a members distributional interest does not entitle the transferee to become a
     member or to exercise any rights of a member. A transfer entitles the transferee to receive,
     to the extent transferred, only the distributions to which the transferor would be entitled.
(2) A transferee of a distributional interest may become a member of a limited liability
     company if and to the extent that the transferor gives the transferee the right in accordance
     with authority described in writing in the operating agreement or if all other members
     consent.
(3) A transferee who has become a member, to the extent transferred, has the rights and
     powers, and is subject to the restrictions and liabilities, of a member under the operating
     agreement of a limited liability company and the provisions of this part. A transferee who
     becomes a member also is liable for the transferor members obligations to make



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      contributions under Section 402 of this Chapter and for obligations under to return
      unlawful distributions, but the transferee is not obligated for the transferor members
      liabilities unknown to the transferee at the time that the transferee becomes a member.
(4)   Whether or not a transferee of a distributional interest becomes a member under subsection
      (2), the transferor is not released from liability to the limited liability company under the
      operating agreement or the provisions of this Chapter.
(5)   A transferee who does not become a member is not entitled to participate in the
      management or conduct of the limited liability company’s business, may not require access
      to information concerning the company’s transactions, and may not inspect or copy any of
      the company’s records.
(6)   A transferee who does not become a member is entitled to:
      (a) receive, in accordance with the transfer, distributions to which the transferor would
             otherwise be entitled;
      (b) receive, upon dissolution and winding up of the limited liability company’s business:
             (i) in accordance with the transfer, the net amount otherwise distributable to the
                   transferor; and
             (ii) a statement of account only from the date of the latest statement of account
                   agreed to by all the members; and
      (c) seek under Section 802(2) of this Chapter a judicial determination that it is equitable
             to dissolve and wind up the company’s business.
(7)   A limited liability company does not have to give effect to a transfer until it has notice of
      the transfer.

Part 7 – Withdrawal of Members

Section 701.      Events Causing Member’s Dissociation.
A member is dissociated from a limited liability company upon the occurrence of any of the
following events:
(1) the company’s having notice of the member’s express will to withdraw upon the date of
      notice or on a later date if specified by the member;
(2) an event agreed to in the operating agreement as causing the member’s dissociation;
(3) upon transfer of all of a member’s distributional interest, other than a transfer for security
purposes or pursuant to a court order charging the member’s distributional interest that has not
      been foreclosed;
(4) the member’s expulsion pursuant to the operating agreement;
(5) the member’s expulsion by unanimous vote of the other members if:
      (a) it is unlawful to carry on the company’s business with the member;
      (b) there has been a transfer of substantially all of the member’s distributional interest,
            other than a transfer for security purposes or pursuant to a court order charging the
            member’s distributional interest, which has not been foreclosed;
      (c) within 90 days after the company notifies a corporate member that it will be expelled
            because it has filed a certificate of dissolution or the equivalent, its charter has been
            revoked, or its right to conduct business has been suspended by the jurisdiction of its
            incorporation, the member fails to obtain a revocation of the certificate of dissolution
            or a reinstatement of its charter or its right to conduct business; or




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     (d)    a partnership or a limited liability company that is a member has been dissolved, and
            its business is being wound up;
(6) on application by the company or another member, the member’s expulsion by judicial
     determination because the member:
     (a) engaged in wrongful conduct that adversely and materially affected the company’s
            business;
     (b) willfully or persistently committed a material breach of the operating agreement or of
            a duty
owed to the company or the other members under Section 305 of this Chapter; or
     (c) engaged in conduct relating to the company’s business that makes it not reasonably
            practicable to carry on the business with the member;
(7) the member’s:
     (a) becoming a debtor in bankruptcy;
     (b) executing an assignment for the benefit of creditors;
     (c) seeking, consenting to, or acquiescing in the appointment of a trustee, receiver, or
            liquidator of all or substantially all of the member’s property; or
     (d) failing, within 90 days after the appointment, to have vacated or stayed the
            appointment of a trustee, receiver, or liquidator of the member or of all or
            substantially all of the member’s property obtained without the member’s consent or
            acquiescence or failing within 90 days after the expiration of stay to have the
            appointment vacated;
(8) in the case of a member who is an individual:
     (a) the member’s death;
     (b) the appointment of a guardian or general conservator for the member; or
     (c) a judicial determination that the member has otherwise become incapable of
            performing the member’s duties under the operating agreement;
(9) in the case of a member that is a trust or is acting as a member by virtue of being a trustee
     of a trust, distribution of the trust’s entire rights to receive distributions from the company,
     except that this subsection does not apply to the substitution of a successor trustee;
(10) in the case of a member that is an estate or is acting as a member by virtue of being a
     personal representative of an estate, distribution of the estates entire rights to receive
     distributions from the company, but not merely the substitution of a successor personal
     representative; or
(11) termination of the existence of a member if the member is not an individual, estate, or trust
     other than a business trust.

Section 702.     Member’s Power to Dissociate—Wrongful Dissociation.
(1) Unless otherwise provided in the operating agreement, a member has the power to
     dissociate from a limited liability company at any time, rightfully or wrongfully, pursuant
     to Section 701 of this Chapter.
(2) If the operating agreement has not eliminated a members power to dissociate, the members
     dissociation from a limited liability company is wrongful only if:
     (a) it is in breach of an express provision of the agreement; or
     (b) before the expiration of the specified term of a term company:
           (i) the member withdraws by express will;




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           (ii)    the member is expelled by judicial determination under Section 701(6) of this
                   Chapter;
             (iii) the member is dissociated by becoming a debtor in bankruptcy; or
             (iv) in the case of a member that is not an individual, trust, other than a business
                   trust, or estate, the member is expelled or otherwise dissociated because it
                   willfully dissolved or terminated its existence.
(3)   A member that wrongfully dissociates from a limited liability company is liable to the
      company and to the other members for damages caused by the dissociation. The liability is
      in addition to any other obligation of the member to the company or to the other members.
(4)   If a limited liability company does not dissolve and wind up its business as a result of a
      member’s wrongful dissociation under subsection (2), damages sustained by the company
      for the wrongful dissociation must be offset against distributions otherwise due the member
      after the dissociation.

Section 703.    Effect of Member’s Dissociation.
(1) Upon a member’s dissociation:
     (a) in an at-will company, the company shall cause the dissociated member’s
          distributional interest to be purchased as provided under Section 704 and Section 705
          of this Chapter; and
     (b) in a term company:
          (i) if the company dissolves and winds up its business on or before the expiration
                of its specified term, Part 8 of this part applies to determine the dissociated
                member’s rights to distributions; and
          (ii) if the company does not dissolve and wind up its business on or before the
                expiration of its specified term, the company shall ensure that the dissociated
                member’s distributional interest is purchased under Section 704 and Section 705
                of this Chapter on the date that was specified for the expiration of the term at
                the time of the member’s dissociation.
(2) Upon a member’s dissociation from a limited liability company:
     (a) the member’s right to participate in the management and conduct of the company’s
          business terminates, except as otherwise provided in Section 803 of this Chapter, and
          the member ceases to be a member and must be treated the same as a transferee of a
          member;
     (b) the member’s duty of loyalty under Section 305(2)(c) of this Chapter terminates; and
     (c) the member’s duty of loyalty under Section 305(2)(a) and (2)(b) of this Chapter and
          duty of care under Section 305(3) of this Chapter continue only with regard to matters
          arising and events occurring before the member’s dissociation, unless the member
          participates in winding up the company’s business pursuant to Section 803 of this
          Chapter.

Section 704.   Company Purchase of Distributional Interest.
(1) A limited liability company shall purchase a distributional interest of a:
      (a) member of an at-will company for its fair value determined as of the date of the
          member's dissociation if the member's dissociation does not result in a dissolution and
          winding up of the company's business under Section 801 of this Chapter; or
      (b) member of a term company for its fair value determined as of the date of the



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             expiration of the specified term that existed on the date of the member's dissociation
             if the expiration of the specified term does not result in a dissolution and winding up
             of the company's business under Section 803 of this Chapter.
(2)   A limited liability company shall deliver a purchase offer to the dissociated member whose
      distributional interest is entitled to be purchased not later than 30 days after the date
      determined under subsection (1). The purchase offer must be accompanied by:
      (a) a statement of the company's assets and liabilities as of the date determined under
             subsection (1);
      (b) the latest available balance sheet and income statement, if any; and
      (c) an explanation of how the estimated amount of the payment was calculated.
(3)   If the price and other terms of a purchase of a distributional interest are fixed or are to be
      determined by the operating agreement, the price and terms so fixed or determined govern
      the purchase unless the purchaser defaults. If a default occurs, the dissociated member is
      entitled to commence a proceeding to have the company dissolved under Section 802(1)(d)
      of this Chapter.
(4)   If an agreement to purchase the distributional interest is not made within 120 days after the
      date determined under subsection (1), the dissociated member, within another 120 days,
      may commence a proceeding against the limited liability company to enforce the purchase.
      The company, at its expense, shall notify in writing all of the remaining members and any
      other person that the court directs of the commencement of the proceeding. The jurisdiction
      of the court in which a proceeding is commenced under this subsection is plenary and
      exclusive.
(5)   The tribal court shall determine the fair value of the distributional interest in accordance
      with the standards set forth in Section 705 of this Chapter, together with the terms for the
      purchase. Upon making these determinations, the court shall order the limited liability
      company to purchase or cause the purchase of the interest.
(6)   Damages for wrongful dissociation under Section 702(2) of this Chapter and all other
      amounts owing, whether or not currently due, from the dissociated member to a limited
      liability company, must be offset against the purchase price.

Section 705.       Court Action to Determine Fair Value of Distributional Interest.
(1) In an action brought to determine the fair value of a distributional interest in a limited
     liability company, the court shall:
     (a) determine the fair value of the interest, considering among other relevant evidence the
            going concern value of the company, any agreement among some or all of the
            members fixing the price or specifying a formula for determining value of
            distributional interests for any other purpose, the recommendations of any appraiser
            appointed by the court, and any legal constraints on the company’s ability to purchase
            the interest;
     (b) specify the terms of the purchase, including, if appropriate, terms for installment
            payments, subordination of the purchase obligation to the rights of the company’s
            other creditors, security for a deferred purchase price, and a covenant not to compete
            or other restriction on a dissociated member; and
     (c) require the dissociated member to deliver an assignment of the interest to the
            purchaser upon receipt of the purchase price or the first installment of the purchase
            price.



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(2)   After the dissociated member delivers the assignment, the dissociated member has no
      further claim against the company, its members, officers, or managers, if any, other than a
      claim to any unpaid balance of the purchase price or a claim under any agreement with the
      company or the remaining members that is not terminated by the court.
(3)   If the purchase is not completed in accordance with the court’s specified terms, the
      company is to be dissolved upon application under Section 802(1)(d) of this Chapter. If a
      limited liability company is so dissolved, the dissociated member has the same rights and
      priorities in the company’s assets as if the sale of the distributional interest had not been
      ordered.
(4)   If the court finds that a party to the proceeding acted arbitrarily, vexatiously, or not in good
      faith, it may award one or more other parties reasonable expenses, including attorney fees
      and the expenses of appraisers or other experts, incurred in the proceeding. The finding
      may be based on the company’s failure to make an offer to pay or to comply with Section
      704(2) of this Chapter.
(5)   Interest must be paid on the amount awarded from the date determined under Section
      704(1) of this Chapter to the date of payment.


Section 706.      Dissociated Members Power to Bind Limited Liability Company.
For 2 years after a member dissociates without the dissociation resulting in a dissolution and
winding up of a limited liability company’s business, the company is bound by an act of the
dissociated member that would have bound the company under Section 301 of this Chapter
before dissociation only if at the time of entering into the transaction the other party:
(1) reasonably believed that the dissociated member was then a member;
(2) did not have notice of the member’s dissociation; and
(3) is not considered to have had notice under Section 707 of this Chapter.

Section 707.    Statement of Dissociation.
(1) A dissociated member or a limited liability company shall file in the office of the Secretary
     a statement of dissociation, stating the name of the company and that the member is
     dissociated from the company.
(2) For the purposes of Section 301 and Section 706 of this Chapter, a person not a member is
     considered to have notice of the dissociation 90 days after the statement of dissociation is
     filed.

Part 8 – Dissolution

Section 801.    Dissolution.
(1) A limited liability company is dissolved and its affairs must be wound up when one of the
     following occurs:
     (a) at the time or upon the occurrence of events specified in writing in the articles of
          organization or operating agreement;
     (b) consent of the number or percentage of members specified in the operating
          agreement;
     (c) an event that makes it unlawful for all or substantially all of the business of the
          company to be continued, but any cure of illegality within 90 days after notice to the



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             company of the event is effective retroactively to the date of the event for purposes of
             this section;
      (d) the expiration of the term specified in the articles of organization; or
      (e) entry of a decree of judicial dissolution under Section 802 of this Chapter.
(2)   Subject to subsection (3), a limited liability company continues after dissolution only for
      the purpose of winding up its business.
(3)   At any time after the dissolution of a limited liability company and before the winding up
      of its business is completed, the members, including a dissociated member whose
      dissociation caused the dissolution, may unanimously waive the right to have the
      company’s business wound up and the company terminated. In that case:
      (a) the limited liability company resumes carrying on its business as if dissolution had
             never occurred, and any liability incurred by the company or a member after the
             dissolution and before the waiver is determined as if the dissolution had never
             occurred; and
      (b) the rights of a third party accruing under the provisions of Section 804(1) or arising
             out of conduct by the third party in reliance on the dissolution before the third party
             knew or received a notification of the waiver are not adversely affected.

Section 802.      Judicial Dissolution.
(1) On application by or for a member or a dissociated member, the Chippewa Cree Tribal
Court may order dissolution of a limited liability company, or other appropriate relief, when:
      (a) the economic purpose of the company is likely to be unreasonably frustrated;
      (b) another member has engaged in conduct relating to the company's business that
          makes it not reasonably practicable to carry on the company's business with that
          member remaining as a member;
      (c) it is not otherwise reasonably practicable to carry on the company's business in
          conformity with the articles of organization and the operating agreement;
      (d) the company failed to purchase the petitioner's distributional interest as required by
          Section 703 of this Chapter or
      (e) the members or managers in control of the company have acted, are acting, or will act
          in a manner that is illegal, oppressive, fraudulent, or unfairly prejudicial to the
          petitioner.
(2) On application by a transferee of a member's interest, the Chippewa Cree Tribal Court may
     determine that it is equitable to wind up the company's business:
      (a) after the expiration of the specified term, if the company was for a specified term at
          the time that the applicant became a transferee by member dissociation, transfer, or
          entry of a charging order that gave rise to the transfer; or
     (b) at any time, if the company was at will at the time that the applicant became a
          transferee by member dissociation, transfer, or entry of a charging order that gave rise
          to the transfer.

Section 803.    Winding Up.
(1) Except as otherwise provided in the articles of organization or the operating agreement, the
     business or affairs of the limited liability company may be wound up:
     (a) by the members or managers who have authority under Section 504 of this Chapter to
          manage the limited liability company prior to dissolution; or



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      (b)  if one or more of the members or managers have engaged in wrongful conduct or
           upon other cause shown, by the Chippewa Cree Tribal Court on application of any
           member or any members legal representative or assignee.
(2)   The persons winding up the business or affairs of the limited liability company may, in the
      name of and for and on behalf of the limited liability company:
      (a) prosecute and defend suits;
      (b) settle and close the business of the limited liability company;
      (c) dispose of and transfer the property of the limited liability company;
      (d) discharge the liabilities of the limited liability company; and
      (e) distribute to the members any remaining assets of the limited liability company.

Section 804.      Agency Power and Liability of Members or Managers After Dissolution.
(1) Except as provided in subsections (3) through (5), after an event causing dissolution of the
     limited liability company, a member may bind the limited liability company:
     (a) by an act appropriate for winding up the limited liability company’s affairs or
            completing transactions unfinished at dissolution; and
     (b) by any transaction that would have bound the limited liability company, if it had not
            been dissolved, if the other party to the transaction does not have notice of the
            dissolution.
(2) The filing of the articles of termination is presumed to constitute notice of dissolution for
     purposes of subsection (1)(b).
(3) An act of a member that would not otherwise be binding on the limited liability company
     under subsection (1) is binding if it is authorized by the limited liability company.
(4) An act of a member that would be binding under subsection (1) or would be otherwise
     authorized and that is in contravention of a restriction on authority may not bind the limited
     liability company to persons having knowledge of the restriction.
(5) If the articles of organization vest management of the limited liability company in
     managers, a manager may exercise the authority of a member under subsection (1) and a
     member may not exercise the authority if the member is acting solely in the capacity of a
     member.
(6) A member or manager who, with knowledge of the dissolution, subjects a limited liability
     company to liability by an act that is not appropriate for the winding up of the company’s
     business is liable to the company for any damage caused by the act.

Section 805.     Distribution of Assets.
Upon the winding up of a limited liability company, the assets must be distributed as follows:
(1) to creditors, including members and managers who are creditors, to the extent otherwise
     permitted by law, in satisfaction of liabilities of the limited liability company, whether by
     payment or the making of reasonable provision for payment, other than liabilities to
     members for distributions under Section 504 of this Chapter;
(2) unless otherwise provided in the articles of organization or an operating agreement, to
     members and former members in satisfaction of liabilities for distributions under Section
     504 of this Chapter;
(3) unless otherwise provided in writing in the articles of organization or a written operating
     agreement, to members first for the return of their contributions and second respecting their




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     limited liability company interests, in the proportions in which the members share in
     distributions.

Section 806.     Articles of Termination.
(1) At any time after dissolution and winding up, a limited liability company may terminate its
     existence by filing with the Secretary articles of termination stating:
     (a) the name of the limited liability company;
     (b) the reason for filing the articles of termination;
     (c) the effective date of the articles of termination, which must be a date certain, if they
           are not to be effective upon the filing;
     (d) the name of the agent or agents authorized to receive service of process after
           dissolution or termination of the limited liability company;
     (e) the name of the person or persons authorized to wind up the business and authorized
           to execute documents on behalf of the limited liability company;
     (f) the date of the dissolution; and
     (g) that the company’s business has been wound up and the legal existence of the
           company has been terminated.
(2) The existence of a limited liability company is terminated upon the filing of the articles of
     termination or upon a later effective date, if specified in the articles of termination.

Section 807.     Known Claims Against Dissolved or Terminated Limited Liability
Companies.
(1) A dissolved or terminated limited liability company may dispose of the known claims
     against it by following the procedure described in this section.
(2) The dissolved or terminated limited liability company shall notify its known claimants in
     writing of the dissolution or termination at any time after the effective date of the
     dissolution or termination. The written notice must:
     (a) describe information that must be included in a claim;
     (b) provide a mailing address where a claim may be sent;
     (c) state the deadline, which may not be less than 120 days from the later of the effective
           date of the written notice or the filing of the articles of termination pursuant to
           Section 806 of this Chapter, by which the dissolved or terminated limited liability
           company must receive the claim; and
     (d) state that the claim will be barred if not received by the deadline.
(3) A claim against the dissolved or terminated limited liability company is barred:
     (a) if a claimant who was given written notice under subsection (2) does not deliver the
           claim to the dissolved or terminated limited liability company by the deadline; or
     (b) if a claimant whose claim was rejected by the dissolved or terminated limited liability
           company does not commence a proceeding to enforce the claim within 90 days from
           the effective date of the rejection notice.
(4) For purposes of this section, ‘claim” does not include a contingent liability or a claim based
     on an event occurring after the effective date of the dissolution or termination.

Section 808.   Unknown Claims Against Dissolved or Terminated Limited Liability
Companies.




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(1)   Subject to Section 807 of this Chapter and subsections (2) through (5) of this section, the
      dissolution or termination of a limited liability company, including dissolution by the
      expiration of its term, does not take away or impair any remedy available to or against the
      limited liability company or its members or managers for any claim or right, whether or not
      the claim or right existed or accrued prior to dissolution or termination. A proceeding by or
      against the limited liability company may be prosecuted or defended by the limited liability
      company in its name. The members and managers have power to take action as appropriate
      to protect the remedy, right, or claim.
(2)   A dissolved or terminated limited liability company may publish notice of its dissolution or
      termination and request that persons having claims against it present the claims in
      accordance with the notice.
(3)   The notice must:
      (a) be published at least once in a newspaper of general circulation on the Rocky Boy’s
             Indian Reservation where the dissolved or terminated limited liability company’s
             principal office is located;
      (b) describe the information required to be contained in a claim and provide a mailing
             address to which the claim is to be sent; and
      (c) state that a claim against the limited liability company is barred unless a proceeding
             to enforce the claim is commenced within 5 years after publication of the notice.
(4)   If a dissolved or terminated limited liability company publishes a notice in accordance with
      subsection (3), the claim of each of the following claimants is barred unless the claimant
      commences a proceeding to enforce the claim against the dissolved or terminated company
      within 5 years after the publication date of the notice:
      (a) a claimant who did not receive written notice under Section 807 of this Chapter;
      (b) a claimant whose claim was timely sent to the dissolved or terminated company but
             not acted on; and
      (c) a claimant whose claim is contingent on or based on an event occurring after the
             effective date of dissolution or termination.
(5)   A claim not barred under this section may be enforced:
      (a) against the dissolved or terminated limited liability company, to the extent of its
             undistributed assets; or
      (b) if the assets have been distributed in liquidation, against a member of the dissolved or
             terminated company to the extent of the member’s proportionate share of the claim or
             the company’s assets distributed to the member in liquidation, whichever is less, but a
             member’s total liability for all claims under this section may not exceed the total
             amount of assets distributed to the member.

Section 809.      Involuntary Dissolution—Procedure.
(1) A limited liability company that is guilty of any of the actions or omissions described in
     Section 208(1) of this Chapter is in default. By reason of the default, the limited liability
     company may be involuntarily dissolved by order of the Secretary, thereby forfeiting its
     right to transact any business on the Rocky Boy’s Indian Reservation.
(2) On or before September 1 of each year, the Secretary shall compile a list of defaulting
     limited liability companies, together with the amount of any filing fee, penalty, or costs
     remaining unpaid.
(3) The Secretary shall give notice to the defaulting limited liability companies by:



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      (a)    mailing a letter addressed to the limited liability company in care of its registered
             agent or any director or officer; or
      (b) publication of a general notice once a month for 3 consecutive months in the
             newspaper of the Rocky Boy’s Indian Reservation.
(4)   The notice referred to in subsection (3) must specify the fact of the proposed dissolution
      and state that unless the grounds for dissolution described in Section 208 of this Chapter
      have been rectified within 90 days following the mailing or publication of notice:
      (a) the Secretary will dissolve the defaulting limited liability companies;
      (b) defaulting limited liability companies will forfeit the amount of any tax, penalty, or
             costs to the Chippewa Cree Tribe; and
      (c) defaulting limited liability companies will forfeit their rights to carry on business
             within the Rocky Boy’s Indian Reservation.
(5)   After 90 days following mailing or publication of each notice, the Secretary may, by order,
      dissolve all limited liability companies that have not satisfied the requirements of
      applicable law and compile a full and complete list containing the names of all limited
      liability companies that have been so dissolved. The Secretary shall immediately give
      notice to the dissolved limited liability companies as specified in subsection (3).
(6)   In the case of involuntary dissolution, all the property and assets of the dissolved limited
      liability companies must be held in trust by the members or managers of the limited
      liability companies and the limited liability companies may carry on business only as
      necessary to wind up and liquidate their business and affairs under Section 801 of this
      Chapter and to notify claimants under Sections 807 and 808 of this Chapter.
(7)   The administrative dissolution of a limited liability company does not terminate the
      authority of its registered agent for service of process.

 Section 810. Reinstatement Following Administrative Dissolution.
(1) A limited liability company administratively dissolved may apply to the Secretary for
      reinstatement within 5 years after the effective date of dissolution. The applicant shall file
      an official application. The application must:
      (a) recite the name of the company and the effective date of its administrative
            dissolution;
      (b) state that the ground for dissolution either did not exist or has been eliminated;
      (c) state that the company's name satisfies the requirements of Section103 of this
            Chapter;
      (d) contain a certificate from the department of revenue reciting that all taxes owed by
            the company have been paid; and
      (e) include all annual reports not yet filed with the Secretary.
(2) If the Secretary determines that the application contains the information required by
      subsection (1) and that the information is correct, the Secretary shall cancel the certificate
      of dissolution, prepare a certificate of reinstatement that recites this determination and the
      effective date of reinstatement, file the original of the certificate, and serve the company
      with a copy of the certificate.
(3) When reinstatement is effective, it relates back to and takes effect as of the effective date of
      the administrative dissolution, and the company may resume its business as if the
      administrative dissolution had not occurred.




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Section 811.     Appeal From Denial of Reinstatement.
(1) If the Secretary denies a limited liability company’s application for reinstatement following
     administrative dissolution, the Secretary shall serve the company with a record that
     explains the reason or reasons for the denial.
(2) The company may appeal the denial of reinstatement to the Chippewa Cree Tribal Court
     within 30 days after service of the notice of denial. The company shall appeal by
     petitioning the court to set aside the dissolution and attaching to the petition copies of the
     Secretary’s certificate of dissolution, the company’s application for reinstatement, and the
     Secretary’s notice of denial.
(4) The court may summarily order the Secretary to reinstate the dissolved company or may
     take other action that the court considers appropriate.
(5) The court’s final decision may be appealed as in other civil proceedings.

Part 9 – Foreign Limited Liability Companies.

Section 901.    Authority to Transact Business Required.
(1) A foreign limited liability company may not transact business on the Rocky Boy’s Indian
     Reservation until it obtains a certificate of authority from the Secretary.
(2) The following activities, among others, do not constitute transacting business within the
     meaning of subsection (1):
     (a) maintaining, defending, or settling any proceeding;
     (b) holding meetings of the members or managers or carrying on other activities
          concerning internal affairs of the limited liability company;
     (c) maintaining bank accounts;
     (d) maintaining offices or agencies for the transfer, exchange, and registration of the
          limited liability company’s own securities or maintaining trustees or depositaries with
          respect to those securities;
     (e) selling through independent contractors;
     (f) soliciting or obtaining orders, whether by mail or through employees or agents or
          otherwise, if the orders require acceptance outside the Rocky Boy’s Indian
          Reservation before they become contracts;
     (g) creating or acquiring indebtedness, mortgages, and security interests in real or
          personal property;
     (h) securing or collecting debts or enforcing mortgages and security interests in property
          securing the debts;
     (i) owning real or personal property that is acquired incident to activities described in
          subsection (2)(h) if the property is disposed of within 5 years after the date of
          acquisition, does not produce income, or is not used in the performance of a function
          of the limited liability company;
     (j) conducting an isolated transaction that is completed within 30 days and that is not a
          transaction in the course of repeated transactions of a similar nature; or
     (k) transacting business in interstate commerce.
(3) The list of activities in subsection (2) is not exhaustive.
(4) Except as provided in subsection (2), a foreign limited liability company is transacting
     business within the meaning of subsection (1) if it enters into a contract with Chippewa
     Cree Tribe, an agency or department of the Chippewa Cree Tribe, or a wholly owned



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     business or subsidiary business of the Chippewa Cree Tribe and must apply for and receive
     a certificate of authority to transact business before entering into the contract. The
     Secretary shall provide written notice to the contracting parties regarding the requirement
     that a foreign limited liability company obtain a certificate of authority. The foreign limited
     liability company must be allowed 30 days from the date of the notice to obtain the
     certificate of authority, and an existing contract may not be voided prior to the expiration of
     the 30 days.



Section 902.      Consequences of Transacting Business Without Authority.
(1) A foreign limited liability company transacting business on the Rocky Boy’s Indian
     Reservation without a certificate of authority may not maintain a proceeding in Chippewa
     Cree Tribal Court until it obtains a certificate of authority.
(2) The successor to a foreign limited liability company that transacted business on the Rocky
     Boy’s Indian Reservation without a certificate of authority and the assignee of a cause of
     action arising out of that business may not maintain a proceeding based on that cause of
     action in Chippewa Cree Tribal Court until the foreign limited liability company or its
     successor obtains a certificate of authority.
(3) Chippewa Cree Tribal Court may stay a proceeding commenced by a foreign limited
     liability company or its successor or assignee until it determines whether the foreign
     corporation or its successor or assignee requires a certificate of authority. If it determines
     that a certificate is required, the court may further stay the proceeding until the foreign
     limited liability company or its successor obtains the certificate.
(4) A foreign limited liability company is liable for a civil penalty of $50 for each day, but not
     to exceed a total of $10,000 for each year, that it transacts business on the Rocky Boy’s
     Indian Reservation without a certificate of authority. The Chippewa Cree Tribal prosecutor
     may collect all penalties due under this subsection and deposit them to the general fund.
(5) Notwithstanding the provisions of subsections (1) and (2) and except as provided in
     subsection (6), the failure of a foreign limited liability company to obtain a certificate of
     authority does not impair the validity of its acts or prevent it from defending any
     proceeding on the Rocky Boy’s Indian Reservation.
(6) A contract between the Chippewa Cree Tribe, an agency or department of the Chippewa
     Cree Tribe, or a wholly owned business of the Chippewa Cree Tribe and a foreign limited
     liability company that has failed to obtain a certificate of authority from Chippewa Cree
     Tribe, the contracting agency or department of the Chippewa Cree Tribe, or the contracting
     wholly owned business of the Chippewa Cree Tribe.

Section 903.     Application For Certificate of Authority.
(1) A foreign limited liability company may apply for a certificate of authority to transact
     business on the Rocky Boy’s Indian Reservation by delivering an application to the
     Secretary for filing. The application must set forth:
      (a) the name of the foreign limited liability company or, if its name is unavailable for use
          on the Rocky Boy’s Indian Reservation, a name that satisfies the requirements of
          Section 909 of this Chapter;
      (b) the name of the state, tribe, or country under whose law it is organized;



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      (c)    its date of organization and period of duration;
      (d)    the street address of its principal office;
      (e)    the address of its registered office on the Rocky Boy’s Indian Reservation and the
             name of its registered agent at that office; and
      (f) the names and usual business addresses of its current managers, if different from its
             members.
(2)   A foreign limited liability company shall deliver with the completed application a
      certificate of existence or a similar document authenticated by the secretary of state or
      other official having custody of corporate records in the state, tribe, or country under whose
      law the foreign limited liability company is organized.

Section 904.      Registered Office and Registered Agent of Foreign Limited Liability
Company.
Each foreign limited liability company authorized to transact business by the Chippewa Cree
Tribe shall continuously maintain on the Rocky Boy’s Indian Reservation:
(1) a registered office that may be the same as any of its places of business; and
(2) a registered agent who shall be:
      (a) an individual who resides on the Rocky Boy’s Indian Reservation and whose business
            office may be identical with the registered office; or
      (b) a domestic corporation, a limited liability company, or a foreign corporation or
            foreign limited liability company authorized to transact business by the Chippewa
            Cree Tribe.

Section 905.     Resignation of Registered Agent of Foreign Limited Liability Company.
(1) The registered agent of a foreign limited liability company may resign the agency
     appointment by signing and delivering to the Secretary for filing the original and two
     copies of a statement of resignation. The statement of resignation may include a statement
     that the registered office is also discontinued.
(2) After filing the statement, the Secretary shall attach the filing receipt to one copy and mail
     the copy and receipt to the registered office if the office has not been discontinued. The
     Secretary shall mail the other copy to the foreign limited liability company at its principal
     office address shown in its most recent annual report.
(3) The agency appointment is terminated and the registered office discontinued, if provided in
     the statement, 30 days after the date on which the statement was filed.

Section 906. Change of Registered Office or Registered Agent of Foreign Limited
Liability Company.
(1) A foreign limited liability company authorized to transact business on the Rocky Boy’s
     Indian Reservation may change its registered office or registered agent, or both, by
     delivering to the Secretary, for filing, a statement of change setting forth:
      (a) the foreign limited liability company's name;
      (b) the street address of its current registered office;
      (c) if the address of its registered office is to be changed, the new address of the
           registered office on the Rocky Boy’s Indian Reservation;
      (d) the name and address of its current registered agent;
      (e) if its registered agent or the agent's address is to be changed, the name and address of



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             the successor registered agent or the current registered agent's new address; and
      (f) the fact that after the change or changes are made, the street addresses of its registered
             office and the business office of its registered agent are identical.
(2)   If a registered agent changes the street address of the registered agent's business office, the
      registered agent may change the street address of the registered office of any foreign
      limited liability company for which the registered agent is the registered agent by notifying
      the foreign limited liability company in writing of the change and signing, either manually
      or in facsimile, and delivering to the Secretary, for filing, a statement of change that
      complies with the requirements of subsection (1) and that states that the foreign limited
      liability company has been notified of the change.

Section 907.    Amended Certificate of Authority.
(1) A foreign limited liability company authorized to transact business on the Rocky Boy’s
     Indian Reservation shall obtain an amended certificate of authority from the Secretary if it
     changes:
      (a) its name;
      (b) the period of its duration; or
     (c) the state, tribe or country of its organization.
(2) The requirements of Section 903 of this Chapter for obtaining an original certificate of
     authority apply to obtaining an amended certificate under this section.

Section 908.     Effect of Certificate of Authority.
(1) A certificate of authority issued by the Secretary authorizes a foreign limited liability
     company to transact business on the Rocky Boy’s Indian Reservation subject to the right of
     the Chippewa Cree Tribe to revoke the certificate as provided in this part.
(2) A foreign limited liability company with a valid certificate of authority has the same rights
     and privileges as a domestic company of similar character and, except as otherwise
     provided by this part, is subject to the same duties, restrictions, penalties, and liabilities
     imposed on a domestic limited liability company of similar character.
(3) This part does not authorize the Chippewa Cree Tribe to regulate the organization or
     internal affairs of a foreign limited liability company authorized to transact business on the
     Rocky Boy’s Indian Reservation.

Section 909.      Name.
A certificate of authority may not be issued to a foreign limited liability company unless the
name of the company satisfies the requirements of Section 103 of this Chapter. If the name of a
foreign limited liability company does not satisfy the requirements of Section 103 of this
Chapter, to obtain or maintain a certificate of authority:
(1) the foreign limited liability company may add the words "limited liability company", the
      abbreviation "l.l.c.", or the abbreviation "l.c." to its name for use on the Rocky Boy’s
      Indian Reservation; or
(2) if its real name is unavailable, the foreign limited liability company may use an assumed
      business name that is available and that satisfies the requirements of Section 207 of this
      Chapter, if it files the assumed business name with the Secretary.

Section 910.     Withdrawal of Foreign Limited Liability Company.



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(1)   A foreign limited liability company authorized to transact business on the Rocky Boy’s
      Indian Reservation may not withdraw from the Rocky Boy’s Indian Reservation until it
      obtains a certificate of withdrawal from the Secretary.
(2)   A foreign limited liability company authorized to transact business on the Rocky Boy’s
      Indian Reservation may apply for a certificate of withdrawal by delivering an application to
      the Secretary for filing. The application must set forth:
      (a) the name of the foreign limited liability company and the name of the state, tribe, or
             country under whose law it is organized;
      (b) that it is not transacting business on the Rocky Boy’s Indian Reservation and that it
             surrenders its authority to transact business on the Rocky Boy’s Indian Reservation;
      (c) that it revokes the authority of its registered agent to accept service on its behalf and
             appoints the Secretary as its agent for service of process in any proceeding based on a
             cause of action arising during the time it was authorized to transact business on the
             Rocky Boy’s Indian Reservation;
      (d) a mailing address to which the Secretary may mail a copy of any process served on
             the Secretary under subsection (3);
      (e) a commitment to notify the Secretary in the future of any change in its mailing
             address;
      (f) additional information as may be necessary or appropriate to enable the Secretary to
             determine and assess any unpaid fees or taxes payable by the foreign limited liability
             company.
(3)   After the withdrawal of the foreign limited liability company is effective, service of process
      on the Secretary under this section is service on the foreign limited liability company. Upon
      receipt of process, the Secretary shall mail a copy of the process to the foreign limited
      liability company at the mailing address set forth under subsection (2).

Section 911.       Grounds For Revocation.
The Secretary may commence a proceeding under Section 912 of this Chapter to revoke the
certificate of authority of a foreign limited liability company authorized to transact business on
the Rocky Boy’s Indian Reservation if:
(1) the foreign limited liability company does not deliver its annual report to the Secretary
within 140 days after it is due;
(2) the foreign limited liability company is without a registered agent or registered office on
the Rocky Boy’s Indian Reservation for 60 days or more;
(3) the foreign limited liability company does not inform the Secretary under Section 105 of this
Chapter that its registered agent or registered office has changed, that its registered agent has
resigned, or that its registered office has been discontinued within 60 days of the change,
resignation, or discontinuance; or
 (4) the Secretary receives a duly authenticated certificate from the Secretary or other official
having custody of company records in the state, tribe, or country under whose law the foreign
limited liability company is organized, stating that it has been dissolved or disappeared as the
result of a merger.

Section 912.    Procedure For and Effect of Revocation.
(1) If the Secretary determines that one or more grounds exist under Section 911 of this
     Chapter for revocation of a certificate of authority, the Secretary shall serve the foreign



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     limited liability company with written notice of the Secretary's determination.
 (2) If the foreign limited liability company does not correct each ground for revocation or
     demonstrate to the reasonable satisfaction of the Secretary that each ground determined by
     the Secretary does not exist within 60 days after service of the notice is mailed, the
     Secretary may revoke the foreign limited liability company's certificate of authority by
     signing a certificate of revocation that states the ground or grounds for revocation and the
     effective date of the revocation. The Secretary shall file the original of the certificate and
     mail a copy to the foreign limited liability company.
(3) The authority of a foreign limited liability company to transact business on the Rocky
     Boy’s Indian Reservation ceases on the date shown on the certificate revoking its certificate
     of authority.
(4) The Secretary's revocation of a foreign limited liability company's certificate of authority
     appoints the Secretary as the foreign limited liability company's agent for service of
     process in any proceeding based on a cause of action that arose during the time the foreign
     limited liability company was authorized to transact business on the Rocky Boy’s Indian
     Reservation. Service of process on the Secretary under this subsection is service on the
     foreign limited liability company. Upon receipt of process, the Secretary shall mail a copy
     of the process to the secretary of the foreign limited liability company at its principal office
     shown in its most recent annual report or in any subsequent communication received from
     the foreign limited liability company, stating the current mailing address of its principal
     office or, if no report or communication is on file, in its application for a certificate of
     authority.
(5) Revocation of a foreign limited liability company's certificate of authority does not
     terminate the authority of the registered agent of the foreign limited liability company.

 Section 913. Appeal From Revocation.
(1) A foreign limited liability company may appeal the Secretary's revocation of its certificate
      of authority to the Chippewa Cree Tribal Court within 30 days after service of the
      certificate of revocation is mailed. The foreign limited liability company may appeal by
      petitioning the court to set aside the revocation and by attaching to the petition copies of its
      certificate of authority and the Secretary's certificate of revocation.
(2) The court may summarily order the Secretary to reinstate the certificate of authority or may
      take any other action the court considers appropriate.
(3) The court's final decision may be appealed as in other civil proceedings.

Section 914. Admission of Foreign Professional Limited Liability Companies --
Application -- Revocation.
(1) A foreign professional limited liability company is entitled to a certificate of authority to
transact business on the Rocky Boy’s Indian Reservation only if:
      (a) the name of the foreign professional limited liability company meets the requirements
           of Section 1102 of this Chapter;
      (b) the foreign professional limited liability company is organized only for purposes for
           which a professional limited liability company may be organized under Part 11 of this
           Chapter; and
      (c) all the members and not less than one-half of the managers of the foreign professional
           limited liability company are qualified persons with respect to the foreign



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             professional limited liability company.
(2)   Notwithstanding Section 901 a foreign professional limited liability company may not be
      required to obtain a certificate of authority to transact business on the Rocky Boy’s Indian
      Reservation unless it maintains an office on the Rocky Boy’s Indian Reservation for the
      conduct of business or professional practice.
(3)   The application for a certificate of authority must include a statement that all the members
      and not less than one-half of the managers are licensed in at least one state or territory or
      the District of Columbia to render a professional service described in the statement of
      purposes of the foreign professional limited liability company.
(4)   The certificate of authority may be revoked by the Secretary if the foreign professional
      limited liability company fails to comply with any provision of Part 11 of this Chapter. The
      licensing authority shall certify to the Secretary, from time to time, the names of all foreign
      professional limited liability companies that have given cause for revocation, together with
      the pertinent facts, and shall concurrently mail to each foreign professional limited liability
      company at its registered office on the Rocky Boy’s Indian Reservation a notice that the
      certification has been made. A certificate of authority of a foreign professional limited
      liability company may not be revoked unless there have been both 60 days' notice of intent
      to revoke and a failure to correct the noncompliance during the 60 days.
(5)   A foreign professional limited liability company is subject to all other provisions of Part 11
      of this Chapter not inconsistent with this section.

Part 10 – Suits by and Against the Limited Liability Company.

Section 1001. Suits By and Against Limited Liability Company.
Suit may be brought by or against a limited liability company in its own name.

Section 1002. Service of Process.
(1) An agent for service of process appointed by a limited liability company or a foreign
     limited liability company is an agent of the company for service of any process, notice, or
     demand required or permitted by law to be served upon the company.
(2) If a limited liability company or foreign limited liability company fails to appoint or
     maintain an agent for service of process on the Rocky Boy’s Indian Reservation or the
     agent for service of process cannot with reasonable diligence be found at the agents
     address, the Secretary is an agent of the company upon whom process, notice, or demand
     may be served.
(3) Service of any process, notice, or demand on the Secretary may be made by delivering to
     and leaving with the Secretary duplicate copies of the process, notice, or demand and, when
     applicable, pursuant to the service provisions of the Chippewa Cree Tribal Rules of Civil
     Procedure. If the process, notice, or demand is not served pursuant to the provisions of the
     Chippewa Cree Tribal Rules of Civil Procedure, the Secretary shall forward one of the
     copies by registered mail, return receipt requested, to the company at its designated office,
     and the Secretary may require the person requesting the service to reimburse the Secretary
     for mailing costs. Service is effected under this subsection at the earliest of:
     (a) the date on which the company receives the process, notice, or demand;
     (b) the date shown on the return receipt, if signed on behalf of the company; or
(c) 5 days after its deposit in the mail, if mailed postpaid and correctly addressed.



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(4)   The Secretary shall keep a record of all processes, notices, and demands served pursuant to
      this section and record the time of and the action taken regarding the service.
(5)   This section does not affect the right to serve process, notice, or demand in any manner
      otherwise provided by law.

Section 1003. Derivative Actions—Proper Plaintiff—Pleading—Expenses.
(1) A member of a limited liability company may maintain an action in the Chippewa Cree
     Tribal Court in the right of the company if the members or managers having authority to
     bring the action have refused to commence the action or an effort to cause those members
     or managers to commence the action is not likely to succeed.
(2) In a derivative action for a limited liability company, the plaintiff must be a member of the
     company when the action is commenced and:
     (a) must have been a member at the time of the transaction of which the plaintiff
           complains; or
     (b) the plaintiffs status as a member must have devolved upon the plaintiff by operation
           of law or pursuant to the terms of the operating agreement from a person who was a
           member at the time of the transaction.
(3) In a derivative action for a limited liability company, the complaint must set forth with
     particularity the effort of the plaintiff to secure initiation of the action by a member or
     manager or the reasons for not making the effort.
(4) If a derivative action for a limited liability company is successful, in whole or in part, or if
     anything is received by the plaintiff as a result of a judgment, compromise, or settlement of
     an action or claim, the court may award the plaintiff reasonable expenses, including
     reasonable attorney fees, and shall direct the plaintiff to remit to the limited liability
     company the remainder of the proceeds received.

Part 11 – Professional Limited Liability Company.

Section 1101. Purposes of Professional Limited Liability Companies.
Professional limited liability companies may be organized under this part only for the purpose of
rendering professional services and services ancillary to professional services within a single
profession, except that a professional limited liability company may be organized for the purpose
of rendering professional services within two or more professions and for any purpose or
purposes for which companies may be organized under this part to the extent that the
combination of professional purposes or professional and business purposes is permitted by the
licensing laws and rules of the Chippewa Cree Tribe applicable to the professions.

Section 1102. Professional Limited Liability Company Name.
The name of a domestic or foreign professional limited liability company:
(1) must contain the words "professional limited liability company", "professional limited
     company", "professional l.l.c.", "professional llc", "p.l.l.c.", or "pllc"; and
(2) must conform to rules promulgated by a licensing authority having jurisdiction of a
     professional service described in the articles of organization.

Section 1103.    Professional Limited Liability Company Managers.




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At least one-half of the managers of a professional limited liability company must be qualified
persons with respect to the limited liability company.

Section 1104. Membership In Professional Limited Liability Company.
(1) Only the following persons may be members of a professional limited liability company:
       (a) natural persons authorized by law of the Chippewa Cree Tribe or any other tribe,
           state, a territory of the United States, or the District of Columbia to render a
           professional service permitted by the articles of organization of the professional
           limited liability company;
      (b) general partnerships in which all the partners are authorized by law of the Chippewa
           Cree Tribe or any other tribe, state, a territory of the United States, or the District of
           Columbia to render a professional service permitted by the articles of incorporation
           and in which at least one partner is authorized by law of the Chippewa Cree Tribe to
           render a professional service permitted by the articles of organization of the
           professional limited liability company; and
      (c) domestic or foreign professional corporations and domestic or foreign professional
           limited liability companies authorized by law of the Chippewa Cree Tribe or tribe,
           state to render a professional service permitted by the articles of organization of the
           professional limited liability company.
(2) The licensing authority may by rule further restrict or condition the issuance of
     membership interests in order to preserve ethical standards, but a rule may not cause a
     member at the time the rule becomes effective to become a disqualified person.

Section 1105. Rendering Services.
A domestic or foreign professional limited liability company may render professional services on
the Rocky Boy’s Indian Reservation only through natural persons permitted to render the
services on the Rocky Boy’s Indian Reservation; however, nothing in this part requires any
person employed by a professional limited liability company to be licensed to perform services
for which a license is not otherwise required or prohibits the rendering of professional services
by a licensed natural person acting in that person's individual capacity, even if the person is a
member or manager of a professional limited liability company.

Section 1106. Responsibility For Services.
(1) An individual who renders professional services as a member or an employee of a domestic
     or foreign professional limited liability company is liable for any negligent or wrongful act
     or omission in which the individual personally participates to the same extent as if the
     individual had rendered the services as a sole practitioner. A member or an employee of a
     professional limited liability company is not liable for the conduct of other members or
     employees unless the member or employee is at fault in appointing, supervising, or
     cooperating with them.
(2) A domestic or foreign professional limited liability company whose member or employee
     performs professional services within the scope of the member's or employee's employment
     or apparent authority to act for the company is liable to the same extent as the member or
     employee.
(3) Except as otherwise provided by statute, the personal liability of a member of a domestic or
     foreign professional limited liability company is no greater in any respect than that of a



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     member of a limited liability company otherwise organized under this part.

Section 1107. Relationship to Clients And Patients.
(1) The relationship between an individual performing professional services as an employee of
     a domestic or foreign professional limited liability company and a client or patient is the
     same as if the individual performed the services as a sole practitioner.
(2) The relationship between a domestic or foreign professional limited liability company
     performing professional services and the client or patient is the same as between the client
     or patient and the individual performing the services.
(3) Any privilege applicable to communications between a person rendering professional
     services and the person receiving the services recognized under the statutory or common
     law of the Chippewa Cree Tribe extends to a domestic or foreign professional limited
     liability company and its employees.




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